                           EXHIBIT 94


                   Declaration of Crystal King




Case 1:14-cv-00954-LCB-JLW Document 162-1 Filed 01/18/19 Page 1 of 83
                 IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                          CASE NO. l:14-CV-954

STUDENTS FOR FAIR
ADMISSIONS, INC.,

                         Plaintiff,

v.


UNIVERSITY OF NORTH
CAROLINA et al.,

                         Defendants.



                     DECLARATION OF CRYSTAL KING




     Case 1:14-cv-00954-LCB-JLW Document 162-1 Filed 01/18/19 Page 2 of 83
                        DECLARATION OF CRYSTAL KING

       1.     I am Director of the Carolina Union at The University of North Carolina at

Chapel Hill ("UNC-Chapel Hill," "Carolina," or the "University") and have held that

position since 2013.

       2.     I am responsible for the management of the Carolina Union organization

and the operation of the Frank Porter Graham Student Union Building. The Carolina

Union builds a vibrant campus community by offering a host of diverse programs and

activities while supporting 22,000 reservations in over 100 Carolina Union, general-

purpose classrooms, and outdoor spaces across the University of North Carolina at

Chapel Hill campus. My portfolio also includes overseeing the Student Activities Fund

Office, Student Life & Leadership Office which houses support for our approximately

800 student organizations, campus-wide student leadership development, and the

traditional campus programming board. I also serve as an advisor to Student

Government.

       3.     Previously, I served as the Associate Executive Director of University

Unions at the University of Texas at Austin ("UT Austin"). I was directly responsible for

managing the building operations of four student life facilities.

       4.     Other positions I held on the UT Austin campus included serving as

Director of the Student Activity Center, Associate Director of Student Programs and

Assistant Director of Student Programs.




                                              2

    Case 1:14-cv-00954-LCB-JLW Document 162-1 Filed 01/18/19 Page 3 of 83
                                      Carolina Union

       5.     Our motto is "Carolina Union: More than a building." Our mission is to

create safe, inclusive, and educational experiences that enable students to maximize their

time at Carolina. The Union is the nerve center for the campus: a place where members

of the University community can gather for debate, discussion, information exchange,

association with other students and faculty, relaxation and quiet contemplation. Through

our extensive variety of programs and services, the Union complements the academic

experience by providing a well-planned and diverse offering of educational, cultural,

social and recreational activities and events.

       6.     To put it simply, we are the campus community builders. That's what a

union is - a place you can enjoy a bagel and engage in a new experience that sparks

thinking and conversation at the same time.

       7.     We believe that Carolina is not just about formal classroom education.

Instead, we believe it is essential to teach students to interact in a community setting to

better the world. We are the location where students come back together to grapple with

what they are learning in class.

       8.     Students who participate in our programs, activities, and organizations

learn by doing and are challenged to think creatively, analytically, and critically. It is

here that Carolina students are afforded the opportunity to put into practice what they are

learning in the classroom and to develop their core leadership skills, enabling them to

create change and community.




                                                 3

    Case 1:14-cv-00954-LCB-JLW Document 162-1 Filed 01/18/19 Page 4 of 83
                    The Union and Educational Benefits of Diversity

       9.     The University's mission is to "to teach a diverse community of

undergraduate, graduate, and professional students to become the next generation of

leaders."

       10.    At the Carolina Union, we strive to further the University's mission by

supporting and welcoming diverse community members and creating opportunities for

them to interact, engage, and develop leadership abilities.

       11.    Based upon my education, training, and experience, I believe there are key

educational benefits of diversity, and seeking to achieve those benefits informs my work.

I have personally observed the educational benefits of diversity while at Carolina.

       12.    By participating in student organizations that support diversity, students

broaden their worldviews and strengthen their tolerance and acceptance of other students

who are not like them. Through informal conversations with other members of their

organization, students are exposed to different ways of life. Through formal workshops,

discussion series, and guest speakers, student organizations provide information and

experiences to community members to which they might not have had access otherwise.

       13.    We know from the literature that it is erroneous to assume that students will

naturally learn about their peers. Rather, it is up to educators to facilitate structured

opportunities for dialogue to transpire.

       14.    The Council for the Advancement of Standards in Higher Education has

published a best practices guide book, entitled the CAS Professional Standards for

Higher Education. This resource provides that campus activities program staff must


                                               4

    Case 1:14-cv-00954-LCB-JLW Document 162-1 Filed 01/18/19 Page 5 of 83
design and implement strategies for involving and engaging diverse student populations,

offer educational programs that emphasize self-assessment and personal responsibility for

creating and improving relationships across difference, and create a welcoming and

nurturing environment for all students.

       15.    We think carefully about the ways our programs further the key learning

and development outcomes and competencies articulated in the CAS Professional

Standards for Higher Education. For instance, our approximate 150 student employment

positions throughout the Union operation further outcomes of interpersonal

development, while participation in student organizations or the Carolina Union Board of

Directors furthers outcomes of humanitarian and civic engagement. Our student body

diversity contributes substantially to our programs and these outcomes.

       16.    The various ways the Union contributes to the realization of the educational

benefits of diversity outside the classroom at UNC-Chapel Hill are discussed below.

                          Leadership Development at Carolina

       17.    At Carolina, we take seriously our responsibility to develop campus and

world leaders. Carolina students have a number of opportunities to participate in

leadership programming.

       18.    All of these leadership programs are greatly enhanced by the diversity of

our students. Diversity of the students participating in these programs helps better train

leaders who can relate to and serve diverse populations. Moreover, by training leaders

from diverse groups, we develop leaders with great potential for broader reach to diverse

communities within North Carolina and beyond.


                                             5

   Case 1:14-cv-00954-LCB-JLW Document 162-1 Filed 01/18/19 Page 6 of 83
       19.    Examples of leadership programming offered through the Carolina Union

are described below. ,

       20.    The Atlantic Coast Conference ("ACC") Student Leadership Symposium is

an annual program designed to develop a community of ACC undergraduate students

who understand the relationship between global and local issues and who work

collaboratively to create innovative initiatives that advance students' capacity for global

leadership. Student-participants from each of the 15 ACC colleges and universities have

the opportunity to engage in educational sessions, hear keynote addresses, explore topical

content, and participate in experiential application through their group project

collaboration and presentations. Prior Symposiums have explored themes including:

race/ethnicity, religion, sexual orientation, physical ability, family background,

socio/economic status, physical appearance, immigration status, gender, homelessness,

gentrification, and education.

       21.    Carolina United is another leadership program designed to create a safe

environment for students to candidly discuss issues of diversity and multiculturalism.

This four-day program takes place the week before classes begin and focuses particularly

upon the diversity of viewpoints, as determined by students' unique experiences,

personalities, and perspectives. The program is intended to foster collaborative dialogue

that unites participants across their differences in a safe, accepting environment. Carolina

United, as a program ascribing to this broad definition of diversity and leadership, brings

together students from all walks of life and types of campus involvement. Throughout the

week, students attend sessions on topics such as Interfaith Dialogue, Dimensions of


                                              6

    Case 1:14-cv-00954-LCB-JLW Document 162-1 Filed 01/18/19 Page 7 of 83
Power and Privilege, and Conflict Resolution. Students also learn to create and

implement programs that will continue the mission of Carolina United once they return to

campus. The students who participate in this program also have the opportunity to

annually discuss their individual program idea and plan with University administration at

the highest levels. King Deel. Ex. 1 is a photograph of Carolina United participants in

2017.

        22.   The NC Fellows program is a four-year, cohort-based leadership program

that has been present at UNC since 1968. It is designed to motivate undergraduate

students to maximize their leadership potential. The program seeks to rethink

conventional understandings of leadership; to facilitate learning between and among

program members; build a supportive community through methods like storytelling and

dialogue; and to encourage positive social change by way of those mechanisms. The

program strives to build a community of students who are motivated, service-oriented,

creative, and ethical. Program highlights include a three-credit sophomore seminar,

monthly seminars facilitated by campus and community leaders, and annual retreats.

Diversity of thought, experience, perspective, and background contribute to richness of

discussion, depth of relationships, and stronger community.

        23.   The Office of Student Life & Leadership partners with LeaderShape® to

offer a six-day intensive institute during spring break. The mission ofLeaderShape® is

to transform the world by increasing the number of people who lead with integrity and a

healthy disregard for the impossible while solidifying one's own passion and vision for

the future. A diverse group of students participates in this leadership training. Students


                                             7


   Case 1:14-cv-00954-LCB-JLW Document 162-1 Filed 01/18/19 Page 8 of 83
participating in the program work on building community and creating their ideal visions

for the world.

       24.       The Union also offers two academic courses on leadership through the

School of Education: EDUC 317: Dynamics of Effective Leadership: Leadership

Through Self-Awareness, and EDUC 309: An Examination of Quality and the Pursuit of

Bettemess.

                              Carolina Union Activities Board

       25.       The Carolina Union Activities Board ("CUAB") is the largest student

volunteer programming organization at UNC Chapel Hill. CUAB's mission is to

enhance the quality of life for the undergraduate, graduate and professional students at

UNC through high-quality social, educational, fun, diverse, inclusive, and engaging

programming that enhance intellectual life, offer cultural experiences, and promote social

interactions and citizenship. This mission is achieved through intentionally programming

to the distinct and varied needs and populations of our campus community. CUAB's

dynamic organizational structure enables them to be able to actively engage students in

every stage of the programming process.

       26.       The programming board has an executive team and multiple committees

including a diversity committee, which is responsible for engaging students and

community members in diverse conversations, with topics including but not limited to

gender, sexuality, race, age, religion, socio-economic status, nationality, disability, and

veteran status. They work collaboratively to bring events to the annual Martin Luther

King Jr. Day lecture, and Hispanic Heritage Month, as well as secure programs that


                                              8

   Case 1:14-cv-00954-LCB-JLW Document 162-1 Filed 01/18/19 Page 9 of 83
engage our students in important conversation around identity development, sexual

assault, and mental health.

       27.    For instance, CUAB has hosted internationally regarded scholars and

leaders like Angela Davis, Marc Lamont Hill, Junot Diaz, Hasan Minhaj, Michael Sam,

and Soledad O'Brien. Through its Art Committee it has featured the thoughtful travelling

gallery, "Love Makes a Family," that portrayed queer families and their experiences, and

also brought internationally renowed galleries like the, "Windows on Death Row"

exhibit, which featured over 90 pieces of art from both famous political cartoonists, and

death row inmates in order to create an intentional conversation around the experience of

those living on death row. Our nearly 100 CUAB events provide opportunities for over

20,000 students from all backgrounds and experience to come together on campus to

build community and lasting connections.

       28.    For instance, CUAB collaborated with the Carolina Latinx Collaborative in

the fall of 2016 to bring Rita Moreno to speak with the Carolina community. Rita

engaged the campus in important dialogue about the Latinx experience. Rita also met

with a smaller group of students for a more intimate dialogue allowing students to

connect to her better.

       29.    CUAB also collaborated with the LGBTQ Center, UNC Athletics, and

Student Life & Leadership to bring Michael Sam to speak to the campus community.

Michael engaged in honest and sincere conversation with the students about his

experiences coming out as an NFL recruit and also the experiences and challenges facing

the LGBTQ community.


                                             9


   Case 1:14-cv-00954-LCB-JLW Document 162-1 Filed 01/18/19 Page 10 of 83
       30.    Another notable collaboration was with the Muslim Student Association &

10 other campus organizations in order to bring Hasan Minhaj to campus in the fall of

2016. Hasan shared with the students in both large groups and small about his

experiences being a first generation Muslim American and the challenges he has

experienced throughout his life with experiencing racism and discrimination in a post

9/11 America.

       31.    CUAB collaborated with the Alpha Kappa Alpha Sorority Inc. as well as

Student Wellness to bring Slam Poet, Neil Hilborn, to campus. Neil presented on his

experiences with mental health and how it has inspired him to pursue a life of art and use

his mental health challenges to create open and honest dialogues about mental health in

people's lives.

                                   Student Government

       32.    Diversity in student government is very important to ensure that all students

have a voice. Diversity within student government leadership also promotes legitimacy

for the students who are represented. Moreover, having diverse students participate in

student government helps students to understand other viewpoints and issues, negotiate

cross-cultural interactions, and develop their capacity for leadership.

       33.    UNC-Chapel Hill's Student Government represents and advocates for

students before administrators, faculty, the Board of Trustees, the Board of Governors,

and the state legislature. Carolina's Student Government tackles the policy issues that

matter to the University and its students.




                                             10

   Case 1:14-cv-00954-LCB-JLW Document 162-1 Filed 01/18/19 Page 11 of 83
       34.    Student Government consists of the Undergraduate Student Executive

Branch, Graduate & Professional Student Federation Executive Branch, Undergraduate

Student Senate, Graduate & Professional Student Federation Senate, the Honor System,

and the Student Supreme Court.

       35.    Officers of the Undergraduate Executive Branch lead the campus

community and make approximately 150 student appointments to committees across

campus that address specific issues and policies affecting the campus. Policy areas

include civic engagement, multicultural affairs and diversity outreach. The

Undergraduate Executive Branch has issued statements to the campus community about

topics such as the Black Lives Matter movement; House Bill 2, which required

individuals to use the bathroom that corresponded to their biological sex; Presidential

Executive Order barring immigration from seven Islamic-majority countries; and the

rallies near Silent Sam, a campus statue of a Confederate soldier.

       36.    Undergraduate Student Senate and Graduate & Professional Student

Federation Senate are the legislative branches of Student Government at UNC-Chapel

Hill. Both Student Senates allocate student fees in accordance with funding requests

from student organizations, maintain the Student Government Code (the rules by which

Student Government operates), and responds to requests for help from students regarding

student life at UNC Chapel Hill.

       37.    The University also has a student-run Honor System and a Student Body

Supreme Court.




                                             11

   Case 1:14-cv-00954-LCB-JLW Document 162-1 Filed 01/18/19 Page 12 of 83
       38.    King Deel. Ex. 2 is a photograph ofUNC-Chapel Hill's student

government leaders in the executive branch for 2017-18. King Deel. Ex. 3 is a

photograph ofUNC-Chapel Hill's student government leaders in the executive branch for

2016-17. King Deel. Ex. 4 is a photograph ofUNC-Chapel Hill's student government

leaders in the legislative branch for 2016-17.

                                  Student Organizations

       39.    The Office of Student Life & Leadership works with student organizations

to provide services, programs, and activities that enhance the academic experience,

extend learning, and build community.

       40.    We have approximately 800 student organizations and are constantly

adding new ones. Some of these organizations are related to ethnic or cultural identities.

King Deel. Ex. 5 is a list of student organizations as of August 30, 2017. Each of these

groups has a different purpose or mission, and no two groups are alike. With such a wide

range of offerings, our students can find organizations that interest them or that address

issues about topics which they may be passionate.

       41.    How to work cooperatively with other organizations with interests different

from our own, is a fundamental, and most important lesson to learn in democracy, and is

an opportunity the Union provides. Our student organizations seek each other out to

forge partnerships and collaborations that enhance their experience, the experience of

their peers, and adds to the diverse array of event and activity offerings available to our

campus community.




                                             12

   Case 1:14-cv-00954-LCB-JLW Document 162-1 Filed 01/18/19 Page 13 of 83
       42.     An example of these student-driven collaborations includes Holi Moli 2017.

Holi Moli UNC collaborated with UNC Sangam, the Campus Y, Hindu YUVA, and

MADO to produce Holi Moli 2017, a large-scale event that promotes multiculturalism and

diversity at UNC by celebrating the arrival of spring through the Hindu holiday of Holi and

by raising awareness and funds for social justice initiatives in our community. To pursue its

mission, Holi Moli UNC unites organizations across campus to plan events that convey the

cultural and social justice messages ofHoli. The culmination of these events is seen in the

Holi Moli event, in which thousands of Tar Heels gather on Hooker Fields to throw their

colors in the air in celebration of their identities and that of others.

       43.     Our student organizations create key spac.es for forging bonds and building

community across difference. They create an opportunity for students from different

backgrounds to find similar passions and interests. When our student body is diverse, we

have diversity within our student organizations that help to foster collaborative dialogue.

This in turns builds a better appreciation for unity across difference and a validation of

one's own identities.

       44.     In addition to student organizations, the Union provides our students with

the resources to plan and facilitate events. An example, would be "Spark," a three-year

program for women of color to engage in meaningful dialogue around identity and what

it means to be a woman of color on UNC's campus. This program was started last year

by two juniors who had a desire to eliminate the feelings of disconnect and despair by

student women of color trying to navigate a predominately white campus. The SPARK

program begins with a retreat to assist _first-year women of color in their transitions and to


                                                 13

   Case 1:14-cv-00954-LCB-JLW Document 162-1 Filed 01/18/19 Page 14 of 83
enhance the overall success of women of color on campus. The founders wanted to

create meaningful relationships and a support system for women of color at UNC-Chapel

Hill. In September 2016, more than 50 women applied for 25 spots and 30 women

ultimately attended the first Spark retreat, for which the institution provided financial

support and an advising model. Now in its second year, the Union has worked with the

students to create a sustainable model for the program so it will exist well into the future.

                  Assessment of the Union's Efforts and Future Plans

       45.    The Union works hard to assess whether its programs are providing

meaningful interaction opportunities for students and how the Union can continue to

improve its service to the campus community.

       46.    A full-time, Master's degree level professional serves as the Co-Curricular

Learning and Assessment Program Coordinator for the Carolina Union. This coordinator

directs and implements ongoing visioning, development and assessment of programs that

involve direct interaction and impact on the quality of educational experiences outside the

classroom. A key responsibility for this position is directing, implementing, facilitating,

and evaluating culturally inclusive programming around an array of student life and

leadership topics, including, but not limited to, educational programming for

international, veteran, Greek, transfer, first-generation, and first year students.

       47.    We have also participated three times (2009, 2012, 2015) in the Multi-

Institutional Study of Leadership ("MSL") Data to help inform our efforts. The MSL

was initially developed as a means to enhance institutional practice by better aligning the

theory-research-practice cycle. The MSL examines the role of higher education in


                                              14

   Case 1:14-cv-00954-LCB-JLW Document 162-1 Filed 01/18/19 Page 15 of 83
developing leadership capacities with a focus on specific environmental conditions that

foster leadership development. Researchers have also used data to explore campus

climate, sense of belonging, student involvement and diversity education.

       48.    General findings from the most recent MSL survey affirm the importance

of our diversity and inclusion work. These results indicate that socio-cultural

conversations, or conversations about a set of beliefs, customs, practices, and behavior

that exist within a population, improve leadership efficacy, complex cognitive skills,

social perspective, and hope. Our data also showed that participation in a student group

related to a racial or ethnic group improved all areas of leadership outcomes compared to

those not involved in those groups. It further showed that students who have socio-

cultural conversations and feel they belong on campus rate higher in all areas of

leadership outcomes. King Deel. Ex. 6 is a summary ofMSL survey results from 2015.

       49.    The Union also participates in The Skyfactor (formerly EBI MAP-Works).

The goal of The Skyfactor survey is to help develop a standard for comparison between

peer and aspirant institutions and the offerings provided through their Student Unions.

This year is the fourth time, since 2008, that the Carolina Union has participated in the

biannual survey. These findings also help us assess our comparative effectiveness in

meeting student needs.

       50.    During the 2016-2017 academic year, our student majority Board of

Directors, initiated and paid for, a feasibility study to evaluate the existing Frank Porter

Graham Student Union. The recommendations from the study were intended to achieve a

few goals: (1) inform the Board of Directors of the current and future needs the student


                                              15

   Case 1:14-cv-00954-LCB-JLW Document 162-1 Filed 01/18/19 Page 16 of 83
body desires from the Carolina Union, (2) help to inform the development of the

University Master Plan as it relates to the student experience, and (3) articulate a clear

and specific vision of a new Union.

       51.    At the beginning of the project, the selected design firm worked with key

student stakeholders and building managers to establish guiding principles for the project.

In the end, six critical principles emerged and remained central to the project. They are

(as listed in order of importance by our students): ( 1) Diversity and Inclusivity, (2)

Greater Sense of Campus Community and Student Connectivity, (3) a building of

distinction, that is both simultaneously forward-looking and modem with a respect for

tradition, (4) adaptable and flexible, (5) sustainable and environmentally conscious, and

(6) reflects the spirit and aspirations ofUNC Chapel Hill.

       52.    Shortly after the guiding principles were established a web-based survey

was emailed to the 29,048 enrolled students in order to quantify student satisfaction with

the current Carolina Union and identify student preference for the future regarding

satisfaction levels of various spaces, and consideration for future programming space in a

renovated or enhanced union facility.

       53.    The web-based survey yielded a 19% response rate. Overall, the survey

population was demographically representative ofUNC Chapel Hill student

demographics with an even response distribution between class levels. The data

collected from the survey formed a platform from which the design firm developed a set

of recommendations for the types and amount of spaces that are needed to meet the

demands of current and future users.


                                              16

   Case 1:14-cv-00954-LCB-JLW Document 162-1 Filed 01/18/19 Page 17 of 83
       54.    The survey indicated that our students desire intracultural spaces and want

more of them. They want more intentionality and the opportunity to meet and interact

with others who different from them. We responded to these results during the Facility

Program phase of our year-long feasibility study.

       55.    The completed Carolina Union Feasibility Study, accepted by the student

majority Board of Directors, and presented to the University, recommends that the Union

dedicate almost 12,000 gross square feet to spaces related to embracing, celebrating, and

exploring diversity and inclusion.

                                        Conclusion

       56.    The University ofNorth Carolina at Chapel Hill's diversity is essential to

the student experience. The world is changing and it is imperative that our students are

equipped to function successfully in a global society. By providing enriching, intentional

diverse experiences in challenging but supportive environments like a college campus,

we facilitate the social, emotional, intellectual, moral, and career development of our

students for their overall wellness.

       57.    Through these countless touchpoints of exposure, students recognize,

respect and celebrate individual and cultural differences, practice inclusiveness, and

demonstrate civility in all discourse. Thereby, enhancing the quality of student life at

Carolina and preparing each individual to thrive in our world.




                                             17

   Case 1:14-cv-00954-LCB-JLW Document 162-1 Filed 01/18/19 Page 18 of 83
I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct.


Executed on:          ,
               10/c:15 111-




                                             18

   Case 1:14-cv-00954-LCB-JLW Document 162-1 Filed 01/18/19 Page 19 of 83
                  Exhibit 1 to King Declaration




Case 1:14-cv-00954-LCB-JLW Document 162-1 Filed 01/18/19 Page 20 of 83
                                                                 Ex 1




Case 1:14-cv-00954-LCB-JLW Document 162-1 Filed 01/18/19 Page 21 of 83
                  Exhibit 2 to King Declaration




Case 1:14-cv-00954-LCB-JLW Document 162-1 Filed 01/18/19 Page 22 of 83
                                                                   Ex 2




Case 1:14-cv-00954-LCB-JLW Document 162-1 Filed 01/18/19 Page 23 of 83
                  Exhibit 3 to King Declaration




Case 1:14-cv-00954-LCB-JLW Document 162-1 Filed 01/18/19 Page 24 of 83
                                                                   Ex 3




Case 1:14-cv-00954-LCB-JLW Document 162-1 Filed 01/18/19 Page 25 of 83
                  Exhibit 4 to King Declaration




Case 1:14-cv-00954-LCB-JLW Document 162-1 Filed 01/18/19 Page 26 of 83
                                                               Ex 4




Case 1:14-cv-00954-LCB-JLW Document 162-1 Filed 01/18/19 Page 27 of 83
                  Exhibit 5 to King Declaration




Case 1:14-cv-00954-LCB-JLW Document 162-1 Filed 01/18/19 Page 28 of 83
                                                                                                                     Ex 5
Organization Name                                            Category                   Short Name
A Drink For Tomorrow                                         Service                    ADFT
Academy Health UNC-CH Student Chapter                        Academic                   AcademyHealth
Academy of Managed Care Pharmacy                             Academic                   AMCP
Active Minds at Carolina                                     Service                    Active Minds
Adoption Education                                           Cultural & International   AdoptEd
Adventist Christian Fellowship-Carolina                      Faith & Religion           ACF-Carolina
Agape Campus Ministry                                        Faith & Religion           Agape Campus Ministry
Ahmadiyya Muslim Student Association                         Faith & Religion           UNC-Ch AMSA
AIESEC Chapel Hill                                           Cultural & International   AIESEC
Airpower Association                                         Special Interest
Alexander Hamilton Society at UNC-Chapel Hill                Ideology & Politics        AHS
All Caring Together                                          Service                    ACT
Allies for Minorities and Women in Science and Engineering   Academic                   AM_WISE
ALPFA at The University of North Carolina at Chapel Hill     Special Interest           ALPFA at UNC-Chapel Hill
Alpha Chi Omega                                              Fraternity & Sorority      Alpha Chi Omega
Alpha Chi Sigma Professional Chemistry Fraternity            Academic                   AXSigma
Alpha Delta Pi                                               Fraternity & Sorority      ADPi
Alpha Epsilon Delta Pre-Health Honor Society                 Academic                   AED
Alpha Epsilon Pi Fraternity                                  Fraternity & Sorority      Alpha Epsilon Pi Fraternity
Alpha Kappa Alpha Sorority Inc. Theta Pi Chapter             Fraternity & Sorority      Alpha Kappa Alpha Sorority, In
alpha Kappa Delta Phi                                        Fraternity & Sorority      aKDPhi
Alpha Kappa Psi Professional Business Fraternity             Fraternity & Sorority      AKPsi
Alpha of North Carolina, Sigma Phi Society                   Fraternity & Sorority      Sigma Phi
Alpha Omega International Dental Fraternity                  Faith & Religion           AO
Alpha Phi                                                    Fraternity & Sorority
Alpha Phi Alpha Fraternity Inc Mu Zeta Chapter               Fraternity & Sorority      Alpha Phi Alpha Fraternity Inc
Alpha Phi Omega                                              Service                    Alpha Phi Omega
Alpha Pi Omega Sorority, Inc.                                Fraternity & Sorority      Alpha Pi Omega Sorority, Inc.
Alpha Sigma Phi                                              Fraternity & Sorority      ASP
Alpha Tau Omega-Alpha Delta                                  Fraternity & Sorority      ATO
American Advertising Federation College Chapter              Academic                   Advertising Club
American Association Of Women Dentists                       Academic                   AAWD
American Civil Liberties Union - UNC-CH Law School Chapter   Special Interest           American Civil Liberties Union
Registration Type                                  Website
RSO (Fall Registration)                            http://www.adft.org
RSO (Fall Registration)
RSO (Spring Registration)                          http://pharmacy.unc.edu/amcp
RSO (Fall Registration)                            http://activeminds.web.unc.edu
RSO (Fall Registration)                            http://adopted.web.unc.edu
RSO (Fall Registration)                            http://www.duke.edu/web/adventist/index.html
RSO (Fall Registration)                            http://www.agapeharvestchurch.org
RSO (Fall Registration)
RSO (Spring Registration)                          http://www.aiesecus.org
RSO (Spring Registration)
RSO (Spring Registration)                          http://hamilton.web.unc.edu
RSO (Fall Registration)                            https://allcaringtogetheru.wixsite.com/all-caring-together
RSO (Spring Registration)                          http://uncwise.wordpress.com/
RSO (Fall Registration)
Social Greek Organizations (Spring Registration)   http://axounc.org/
RSO (Fall Registration)                            https://www.axsigma.web.unc.edu
Social Greek Organizations (Spring Registration)   http://www.adpiunc.org
RSO (Fall Registration)                            http://www.uncaed.blogspot.com/
Social Greek Organizations (Spring Registration)   http://aepiunc.org
Social Greek Organizations (Fall Registration)
Social Greek Organizations (Fall Registration)     http://unc-akdphi.com
RSO (Spring Registration)                          http://www.akpsiunc.com/
Social Greek Organizations (Spring Registration)   http://www.sigmaphiunc.org/
RSO (Fall Registration)                            https://www.ao.org
Social Greek Organizations (Spring Registration)   http://uncalphaphi.com/index.php
Social Greek Organizations (Fall Registration)     http://mzalphas.web.unc.edu/
RSO (Fall Registration)                            http://APOonline.org/rho
Social Greek Organizations (Fall Registration)     http://alphapiomega.web.unc.edu/
Social Greek Organizations (Spring Registration)
Social Greek Organizations (Spring Registration)   http://www.atounc.org
RSO (Fall Registration)                            http://uncadclub.tumblr.com
RSO (Fall Registration)
RSO (Fall Registration)
Organization Name                                                          Category                   Short Name
American Constitution Society                                              Academic                   American Constitution Society
American Medical Association                                               Academic                   AMA
American Mock World Health Organization UNC-Chapel Hill Chapter            Academic                   AMWHO UNC-CH Chapter
American Red Cross Club of UNC-CH                                          Service                    American Red Cross Club Of U
American Studies Graduate Student Association                              Academic                   ASGSA
American Studies Undergraduate Association                                 Academic                   UA
Antioch College Ministry at UNC-CH                                         Faith & Religion           Antioch
APPLES Service Learning Program                                            Service                    APPLES
Arab Student Organization                                                  Cultural & International   ASO
Arnold Air Society - Jesse J. Moorhead Squadron                            Service                    AAS
Art And Museum Library And Information Student Society                     Academic                   AMLISS
Art Student Graduate Organization                                          Academic                   ASGO
ArtHeels                                                                   Service                    ArtHeels
ASDA Pre-Dental Chapter at The University of North Carolina at Chapel Hill Academic                   ASDA Predental Chapter at UN
Asian American Law Students Association                                    Cultural & International   AALSA
Asian Students Association                                                 Cultural & International   ASA
Association for Carolina Emergency Response and Injury Prevention          Academic                   ACERIP
Association for Students in Information Science and Technology, UNC-CH ChaAcademic                    UNC-CH ASIS&T
Association Of Nursing Students                                            Academic                   ANS
Association of Women Surgeons                                              Academic                   AWS
Autism Society of North Carolina UNC-CH Campus Chapter                     Service                    ASNC-UNC
Autism Speaks U - UNC-CH                                                   Service
AWM Chapter UNC-Chapel Hill                                                Special Interest
Bacon of the Month Club                                                    Special Interest           B.M.C.
Baha'i Student Association                                                 Faith & Religion           Baha'i Club
Be The Match on Campus                                                     Service                    BTMOC
Beta Beta Beta Biological Honor Society                                    Academic                   Tri-Beta
Beta Theta Pi                                                              Fraternity & Sorority      Beta
Bhangra Elite                                                              Performance                Bhangra
Biology Graduate Student Association                                       Academic                   BGSA
Biomedical Devices Club                                                    Academic                   BME Devices Club
Biostatistics Student Association                                          Academic                   BSA
Bite the Globe                                                             Cultural & International   BG, Bites, Global Bites, Bite th
Registration Type                                  Website
RSO (Fall Registration)                            http://studentorgs.law.unc.edu/acs/
RSO (Spring Registration)                          http://www.med.unc.edu/ama
RSO (Spring Registration)                          http://amwho.org
RSO (Fall Registration)
RSO (Fall Registration)                            http://americanstudies.unc.edu/
RSO (Fall Registration)
RSO (Spring Registration)                          http://www.antiochrdu.com/
RSO (Fall Registration)                            http://ccps.unc.edu/apples/
RSO (Fall Registration)
RSO (Spring Registration)                          https://www.aas-sw.org/
RSO (Spring Registration)
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Fall Registration)                            http://asaatunc.com
RSO (Fall Registration)                            http://www.acerip.org
RSO (Spring Registration)                          http://asist.unc.edu
RSO (Fall Registration)
RSO (Spring Registration)                          http://www.med.unc.edu/aws
RSO (Spring Registration)
RSO (Fall Registration)
RSO (Fall Registration)                            https://awmch.web.unc.edu
RSO (Fall Registration)
RSO (Fall Registration)                            http://www.bahai.us
RSO (Fall Registration)                            http://www.BeTheMatchOnCampus.org
RSO (Fall Registration)                            https://unctribeta.web.unc.edu/
Social Greek Organizations (Spring Registration)
RSO (Fall Registration)
RSO (Fall Registration)                            http://bgsa.web.unc.edu
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Fall Registration)
Organization Name                                                       Category                   Short Name
Black Graduate and Professional Student Association                     Special Interest           BGPSA
Black Law Students Association                                          Academic                   BLSA
Black Student Movement                                                  Cultural & International   BSM
Blank Canvas                                                            Performance                Blank Canvas
Bloomer Hill Rural Health Coalition                                     Academic                   Bloomer Hill
Blueprints for Pangaea                                                  Service                    Blueprints, B4P
Board of Elections                                                      Student Government         BOE
bridgeUNC-CH                                                            Ideology & Politics
Broun National Trial Team                                               Academic                   BNTT
BSBA Marketing Club                                                     Academic                   Carolina Marketing
Building Bonds, Breaking B.A.R.S. (Barriers Against Reaching Success)   Service                    B4
Building Tomorrow                                                       Service                    BT
Cadence All-Female A Cappella                                           Performance                Cadence
Camp Kesem North Carolina                                               Service                    CKNC
Campus Christian Fellowship At UNC-CH                                   Faith & Religion           CCF
Campus Outreach                                                         Faith & Religion           Campus Outreach
Campus Recreation Student Association                                   Special Interest           CRSA
Campus Y                                                                Service                    Campus Y
CampWrite UNC-CH                                                        Service                    CampWrite UNC
Carolina 4-Square Club                                                  Special Interest
Carolina Adventure Club                                                 Special Interest
Carolina Analytics and Data Science                                     Academic                   CARDS
Carolina Animators Anonymous                                            Media                      AniAno
Carolina Association Of Black Journalists                               Media                      Carolina Association Of Black J
Carolina Association Of Future Magazine Editors                         Media                      CAFME
Carolina Association Of Pharmacy Students                               Academic                   CAPS
Carolina Association of Queer Journalists                               Media                      CAQJ
Carolina Athletic Association                                           Special Interest           CAA
Carolina Athletic Training Students' Association                        Academic                   CATSA
Carolina Barbell                                                        Special Interest           CB
Carolina Beach Volleyball Club                                          Sport Clubs                CBVC
Carolina Bebes-Breastfeeding Evidence Based Education and Support       Service                    Carolina BEBES
Carolina Beekeeping Club                                                Special Interest
Registration Type                      Website
RSO (Fall Registration)                http://www.unc.edu/bgpsa
RSO (Fall Registration)                http://studentorgs.law.unc.edu/blsa
RSO (Fall Registration)                http://www.uncbsm.com
RSO (Fall Registration)
RSO (Fall Registration)                http://www.med.unc.edu/ncsrhc
RSO (Fall Registration)                http://www.b4pglobal.org/
RSO (Fall Registration)                http://elections.unc.edu/
RSO (Fall Registration)                https://www.bridgeusa.org/
RSO (Fall Registration)
RSO (Fall Registration)                http://www.uncmarketingclub.com
RSO (Fall Registration)                http://buildingbondsbreakingbars.tumblr.com/
RSO (Spring Registration)              http://www.buildingtomorrow.org/zeta/
RSO (Fall Registration)                http://cadenceacappella.com
RSO (Fall Registration)
RSO (Fall Registration)                http://www.ccf-unc.org
RSO (Spring Registration)              http://coraleigh.org
RSO- Sport Clubs (Fall Registration)
RSO (Fall Registration)                https://campus-y.unc.edu/
RSO (Spring Registration)              http://www.campwriteunc.com/
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Spring Registration)
RSO (Fall Registration)                http://cabjunc.wordpress.com
RSO (Fall Registration)                http://cafme.blogspot.com/
RSO (Fall Registration)                http://pharmacy.unc.edu/caps
RSO (Spring Registration)
RSO (Fall Registration)                http://www.unccaa.com
RSO (Fall Registration)                https://uncatep.web.unc.edu
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Fall Registration)                http://studentorgs.unc.edu/bebes/
RSO (Fall Registration)
Organization Name                               Category                   Short Name
Carolina Boxing Club                            Special Interest           Carolina Boxing Club
Carolina Campus Civitan                         Service
Carolina Capoeira Club                          Cultural & International
Carolina Celtic Society                         Cultural & International   Celtic Society
Carolina Chess Club                             Special Interest           CCC
Carolina China Network                          Cultural & International   CCN
Carolina Classics Graduate Group                Academic                   CCGG
Carolina Clicks                                 Media
Carolina Climbing Club                          Sport Clubs                CCC
Carolina Clinical Informatics                   Academic                   Carolina CLiC
Carolina Club Cross Country and Track           Sport Clubs                Carolina Club Cross Country an
Carolina Club Sand Volleyball                   Sport Clubs
Carolina Club Softball                          Sport Clubs                Softball
Carolina Collectors Collective                  Special Interest           CCC (C-Cubed)
Carolina Conexiones                             Service                    Conexiones
Carolina Conscious                              Special Interest           CC
Carolina Craft and Tea Society                  Special Interest           CATS
Carolina Creates                                Special Interest
Carolina Creative Writing Association           Academic                   CCWA
Carolina Cupboard                               Service                    CC
Carolina Curls                                  Special Interest
Carolina Cycling                                Sport Clubs                Carolina Cycling
Carolina Cystic Fibrosis Friends                Service                    CCFF
Carolina Dance Initiative                       Performance                CDI
Carolina Dance Project                          Service                    CDP
Carolina Debating Union                         Special Interest           CDU
Carolina Disc Golf                              Special Interest           Carolina Disc Golf
Carolina Dragon Boat Organization               Cultural & International   CDBO
Carolina Economics Club                         Academic                   CEC
Carolina Education Policy Student Association   Special Interest           CEPSA
Carolina Enrichment Experience Scholarship      Service                    CEES
Carolina Fever                                  Special Interest           Carolina Fever
Carolina Film Association                       Media                      CFA
Registration Type                       Website
RSO (Fall Registration)                 http://unc.edu/uncbox
RSO (Fall Registration)                 http://carolinacampuscivitan.web.unc.edu/
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Spring Registration)               http://ccnunc.weebly.com/
RSO (Fall Registration)
RSO (Fall Registration)
RSO - Sport Clubs (Fall Registration)
RSO (Fall Registration)
RSO - Sport Clubs (Fall Registration)   http://carolinaclubtrackxc.blogspot.com/
RSO (Spring Registration)
RSO - Sport Clubs (Fall Registration)   http://clubsoftball.org/ConferenceDetail.aspx?conference=South%20Atlantic%20-%20East&
RSO (Fall Registration)
RSO (Fall Registration)                 http://carolinaconexiones.web.unc.edu
RSO (Fall Registration)                 http://www.carolinaconscious.org/
RSO (Fall Registration)
RSO (Fall Registration)                 http://www.carolinacreates.unc.edu
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Fall Registration)
RSO - Sport Clubs (Fall Registration)
RSO (Fall Registration)
RSO (Fall Registration)                 http://carolinadanceinitiative.weebly.com
RSO (Fall Registration)                 https://sites.google.com/site/uncdanceproject/
RSO (Fall Registration)
RSO (Fall Registration)                 http://cf.unc.edu/discgolf/
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Fall Registration)                 http://cepsa.web.unc.edu
RSO (Fall Registration)                 http://ceesunc.web.unc.edu/
RSO (Fall Registration)                 http://www.carolinafever.org
RSO (Fall Registration)                 http://www.unc.edu/student/orgs/cpg/
Organization Name                                Category                   Short Name
Carolina Firsts                                  Special Interest           Carolina Firsts
Carolina Fishing Club                            Special Interest           Carolina Fishing Club
Carolina For the Kids Foundation                 Service                    UNC-DM
Carolina General Aviation                        Special Interest
Carolina Global Oasis Club                       Service                    CGOC
Carolina Go Club                                 Special Interest
Carolina Health Entrepreneurship Initiative      Special Interest           CHEI
Carolina Health Law Organization                 Special Interest           CHLO
Carolina Helping Paws                            Service                    Helping Paws
Carolina Hispanic Association                    Cultural & International   CHispA
Carolina Indian Circle                           Cultural & International   Carolina Indian Circle
Carolina Intellectual Property Law Association   Academic                   CIPLA
Carolina International Relations Association     Special Interest           CIRA
Carolina Irish Association                       Performance                CIA
Carolina Jams                                    Performance
Carolina Jiu-Jitsu                               Special Interest           Carolina Jiu-Jitsu
Carolina Judo                                    Sport Clubs
Carolina Jump Rope Club                          Special Interest           CJRC
Carolina Kendo Club                              Cultural & International   Carolina Kendo Club
Carolina Khalsa                                  Faith & Religion
Carolina Language Partnership                    Service                    CLaP
Carolina Law Ambassadors                         Academic                   Carolina Law Ambassadors
Carolina Law Democrats                           Ideology & Politics        CLD
Carolina Math Club                               Academic
Carolina Meditation Club                         Special Interest           Carolina Meditation Club
Carolina Mock Trial                              Academic                   Carolina Mock Trial
Carolina Monkey Kung Fu                          Sport Clubs                Carolina Monkey Kung Fu
Carolina Neuroscience Club                       Academic                   Carolina Neuroscience Club
Carolina Nurses Christian Fellowship             Faith & Religion           C-NCF
Carolina Officials Association                   Sport Clubs                COA
Carolina Otaku Uprising - UNC Anime Club         Cultural & International   COUP
Carolina Passport                                Cultural & International   Carolina Passport
Carolina Pediatric Attention Love And Support    Service                    CPALS
Registration Type                         Website
RSO (Fall Registration)                   http://firstgeneration.unc.edu/
RSO (Fall Registration)                   http://www.fishing.web.unc.edu
RSO (Fall Registration)                   http://carolinaftk.org
RSO (Spring Registration)
RSO (Fall Registration)                   globaloasisproject.org
RSO (Fall Registration)                   http://uncgoclub.web.unc.edu/
RSO (Spring Registration)
RSO (Fall Registration)
RSO (Fall Registration)                   http://unchelpingpaws.weebly.com/index.html
RSO (Fall Registration)                   http://chispa.web.unc.edu/
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Fall Registration)                   http://www.uncira.com
RSO (Fall Registration)                   http://carolinairishdance.web.unc.edu/
RSO (Fall Registration)                   https://carolinajams.web.unc.edu
RSO (Fall Registration)
RSO - Sport Clubs (Fall Registration)     http://groups.yahoo.com/group/carolinajudo/
RSO (Fall Registration)
RSO (Fall Registration)                   http://unc.trianglekendoiaido.org
RSO (Fall Registration)
RSO (Fall Registration)                   http://studentorgs.unc.edu/clap
RSO (Fall Registration)                   http://studentorgs.law.unc.edu/cla/
RSO (Spring Registration)
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Fall Registration)                   http://www.carolinamocktrial.web.unc.edu
RSO - Sport Clubs (Spring Registration)   http://studentorgs.unc.edu/mkf/index.php/component/content/frontpage
RSO (Fall Registration)                   http://carolinaneuroscience.web.unc.edu/
RSO (Fall Registration)
RSO - Sport Clubs (Fall Registration)
RSO (Fall Registration)                   http://coup.web.unc.edu/
RSO (Spring Registration)                 http://global.unc.edu/carolinapassport
RSO (Fall Registration)                   http://cpals.web.unc.edu/
Organization Name                              Category                   Short Name
Carolina Platelet Partners                     Service                    CPP
Carolina Pops                                  Performance                CPOPS
Carolina Pre-Medical Association               Special Interest           CPMA
Carolina Pre-Optometry Association             Academic                   UNC Pre-Opt
Carolina Pre-Physician Assistant Association   Academic                   CPPAA
Carolina Public Interest Law Organization      Special Interest           C-PILO
Carolina Quarterly                             Media                      CQ
Carolina R.I.S.E.                              Service                    RISE
Carolina Real Estate Law Association           Special Interest           CRELA
Carolina Recovery Group                        Special Interest           CRG
Carolina Recreational Tennis                   Special Interest           CRT
Carolina Review                                Media                      Carolina Review
Carolina ROCTS                                 Service                    Carolina ROCTS
Carolina Scientific                            Media                      Carolina Scientific
Carolina Society Of Future Leaders             Academic                   CSFL
Carolina Sport Business Club                   Special Interest           CSBC
Carolina Squash                                Special Interest           Tar Heel Squash
Carolina Stand Up Paddleboard Club             Sport Clubs                Carolina SUP Club
Carolina Stock Market Club                     Academic                   CSMC
Carolina Student Legal Services                Service                    CSLS
Carolina Students For Life                     Special Interest           CSFL
Carolina Style Dance Company                   Performance                C-Style
Carolina Swim Clinic                           Service                    CSC
Carolina Swing Dance Club                      Special Interest           Carolina Swing Dance Club
Carolina Tae Kwon Do Club                      Sport Clubs                Carolina Tae Kwon Do Club
Carolina Tai-chi                               Special Interest           Tai-Chi
Carolina Tap Ensemble                          Performance                C-Tap
Carolina Tar Heel Voices                       Performance                THV
Carolina Team Handball Club - Mens             Sport Clubs                Men's Team Handball
Carolina Tech Explorers                        Special Interest           CTE
Carolina Teen Court Assistance Program         Service
Carolina THINK                                 Special Interest
Carolina TropicalClinics for Rural Health      Cultural & International   Carolina TCRH
Registration Type                       Website
RSO (Fall Registration)                 http://www.tinyurl.com/donateplatelets
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Fall Registration)                 http://studentorgs.law.unc.edu/cpilo/default.aspx
RSO (Fall Registration)                 http://thecarolinaquarterly.com/
RSO (Fall Registration)                 http://carolinarise.web.unc.edu
RSO (Fall Registration)
RSO (Spring Registration)               http://recovery.unc.edu
RSO (Fall Registration)                 http://www.meetup.com/Carolina-Recreational-Tennis/
RSO (Fall Registration)                 http://carolinareview.org
RSO (Fall Registration)                 http://www.unc.edu/rocts/index.htm
RSO (Fall Registration)                 http://www.carolinascientific.org/
RSO (Fall Registration)                 http://www.sog.unc.edu/uncmpa/students/studentlife.html
RSO (Fall Registration)                 http://www.csbcunc.com
RSO (Fall Registration)                 http://carolinasquash.web.unc.edu
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Spring Registration)               http://www.studentlegalservices.web.unc.edu
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Fall Registration)                 http://carolinaswimclinic.web.unc.edu
RSO (Fall Registration)
RSO - Sport Clubs (Fall Registration)   http://carolinataekwondo.wordpress.com/
RSO (Spring Registration)               http://taichi.web.unc.edu
RSO (Fall Registration)
RSO (Fall Registration)                 http://www.unctarheelvoices.com
RSO - Sport Clubs (Fall Registration)   http://www.carolinateamhandball.org/
RSO (Fall Registration)                 http://www.carolinaglassexplorers.weebly.com
RSO (Fall Registration)                 http://studentorgs.law.unc.edu/default.aspx
RSO (Fall Registration)                 http://carolinathink.web.unc.edu/
RSO (Fall Registration)                 http://tropicalclinics.org
Organization Name                                      Category                   Short Name
Carolina Tutoring English Language Learning Students   Service                    Carolina T.E.L.L.S
Carolina Ukulele Ensemble                              Performance                CUE
Carolina Union Activities Board                        Special Interest           CUAB
Carolina Veterans Organization                         Special Interest           Carolina Veterans Organizatio
Carolina Vibe Dance Team                               Performance                Carolina Vibe Dance Team
Carolina Water Polo                                    Sport Clubs                Carolina Water Polo
Carolina Wildlife Information and Science Education    Service                    Carolina WISE
Carolina Women In Business                             Academic                   CWIB
Carolina Women in Physics                              Academic                   WIP
Carolina Women's Water Polo                            Sport Clubs                Carolina Women's Water Polo
Carolina Womens Team Handball Club                     Sport Clubs                CWTHC
Carolina YESPLUS: Youth Empowerment Seminar            Special Interest           Carolina YES!+
Carolina Young Democratic Socialists                   Ideology & Politics        Carolina YDS
Carolina's Actuarial Student Organization              Academic                   CASO
Cellar Door                                            Media                      Cellar Door
Chabad Student Group At UNC-CH                         Faith & Religion           Chabad Student Group At UNC
Chapel Hilarity Standup                                Performance
Chapel Hill Chalkaa                                    Performance                Chapel Hill Chalkaa
Chapel Hill Helping Hands                              Service                    CH-Helping Hands
Chapel Hill Immigrant and Family Health                Service                    Chapel Hill I.F. Health
Chapel Hill Players                                    Performance                CHiPs
Chapel Hill Unitarian Universalist Fellowship          Faith & Religion           UU Fellowship
Checked Out                                            Special Interest           Checked Out
Chi Alpha Christian Fellowship                         Faith & Religion           Chi Alpha
Chi Omega Fraternity                                   Fraternity & Sorority      Chi Omega
Chi Phi                                                Fraternity & Sorority      Chi Phi
Chi Psi - Alpha Sigma Chapter                          Fraternity & Sorority      Chi Psi
Child Action                                           Special Interest           Child Action
Chinese Conversation Club                              Academic                   CCC
Chinese Undergraduate Student Association              Cultural & International   CUSA
Christian Apologetics Of Carolina                      Faith & Religion           Christian Apologetics Of Carol
Christian Legal Society                                Faith & Religion           CLS
Christian Pharmacists Fellowship International         Faith & Religion           CPFI
Registration Type                                  Website
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Fall Registration)                            http://www.unc.edu/cuab/
RSO (Fall Registration)                            http://veterans.web.unc.edu
RSO (Fall Registration)
RSO - Sport Clubs (Spring Registration)
RSO (Fall Registration)
RSO (Fall Registration)                            http://www.carolinawomeninbusiness.com/
RSO (Fall Registration)                            http://physics.unc.edu/undergraduate-program/student-organizations/women-in-physics/
RSO - Sport Clubs (Fall Registration)              http://carolinawomenswaterpolo.com
RSO - Sport Clubs (Fall Registration)              http://www.uncwomensteamhandball.com/
RSO (Spring Registration)
RSO (Fall Registration)
RSO (Fall Registration)                            http://caso.web.unc.edu/
RSO (Fall Registration)                            http://cellardoor-unc.tumblr.com/
RSO (Fall Registration)                            http://www.chabaddch.com
RSO (Spring Registration)
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Fall Registration)                            http://chipscomedy.com
RSO (Fall Registration)
RSO (Spring Registration)                          http://checkedout.web.unc.edu
RSO (Fall Registration)                            http://www.xa-unc.com/
Social Greek Organizations (Spring Registration)   http://chiomega.com
Social Greek Organizations (Spring Registration)   aachiphi.org
Social Greek Organizations (Spring Registration)   http://www.chipsi.org
RSO (Fall Registration)                            http://studentorgs.law.unc.edu/childaction/
RSO (Fall Registration)
RSO (Fall Registration)                            http://www.cusa.web.unc.edu
RSO (Fall Registration)
RSO (Fall Registration)                            http://carolinacls.com/
RSO (Spring Registration)                          http://www.cpfi.web.unc.edu
Organization Name                                                      Category                   Short Name
Christians on Campus                                                   Faith & Religion           ChCa
Christians United for Israel at UNC-CH                                 Ideology & Politics        CUFI UNC-CH
Coalition for Engineers of Color                                       Academic                   CEC
Coalition of Youth Librarians                                          Academic                   COYL
College Life                                                           Faith & Religion           CL
College Service Project: University of North Carolina at Chapel Hill   Service                    CSP-UNC
Communication Studies Graduate Student Association                     Student Government         Communication Studies Gradu
Community Empowerment Fund                                             Service                    CEF
Company Carolina                                                       Performance                CC / Company
Comparative Literature and English Association of Graduate Students    Student Government         CoLEAGS
Concussion Awareness Recovery Run, Inc. at UNC-CH                      Service                    CARR UNC-CH
Conference On Race Class Gender And Ethnicity                          Special Interest           CRCGE
Cooperative Baptist Student Fellowship                                 Faith & Religion           Co-op
Coulture Magazine                                                      Media
Cru at UNC-Chapel Hill                                                 Faith & Religion           CRU
CURE UNC-CH                                                            Service
Daily Tar Heel                                                         Media                      DTH
Death Penalty Project                                                  Special Interest           DPP
Defend Our Future Action                                               Special Interest           Defend Our Future
Delta Delta Delta                                                      Fraternity & Sorority      Tri-Delt
Delta Delta Sigma Pre-Dental Honor Society                             Academic                   DDS
Delta Kappa Epsilon, Beta Chapter                                      Fraternity & Sorority      DKE
Delta Phi Omega Sorority Incorporated                                  Fraternity & Sorority      DPO
Delta Sigma Iota                                                       Fraternity & Sorority      DSI
Delta Sigma Phi Fraternity                                             Fraternity & Sorority      Delta Sig
Delta Sigma Pi International Fraternity                                Special Interest           Delta Sigma Pi
Delta Sigma Theta Sorority, Incorporated                               Fraternity & Sorority      DST
Delta Upsilon Fraternity                                               Fraternity & Sorority      Delta Upsilon
Design For America UNC-CH                                              Special Interest           DFA UNC-CH
Dialectic And Philanthropic Societies                                  Academic                   Di-Phi
Dozen Doughnut Dash                                                    Service                    DDD
Easing Abroad Students Entry                                           Cultural & International   EASE
Education Law and Policy Society                                       Special Interest           ELPS
Registration Type                                  Website
RSO (Fall Registration)
RSO (Fall Registration)                            http://www.cufi.web.unc.edu
RSO (Fall Registration)
RSO (Spring Registration)
RSO (Fall Registration)
RSO (Fall Registration)                            http://www.asphome.org/display.asp?page=csp
RSO (Fall Registration)
RSO - Sport Clubs (Fall Registration)              https://communityempowermentfund.org/
RSO (Fall Registration)                            http://www.unc.edu/company
RSO (Fall Registration)                            http://coleags.org
RSO (Spring Registration)                          https://carr5k.org
RSO (Fall Registration)                            http://studentorgs.law.unc.edu/crcge/
RSO (Fall Registration)                            http://cbsfunc.org
RSO (Fall Registration)                            https://www.coulture.org
RSO (Fall Registration)                            http://www.cruatunc.com
RSO (Fall Registration)
RSO (Fall Registration)                            http://dailytarheel.com
RSO (Fall Registration)                            http://studentorgs.law.unc.edu/dpp/
RSO (Fall Registration)                            http://defendourfuture.org
Social Greek Organizations (Spring Registration)   http://trideltaunc.org
RSO (Fall Registration)                            http://deltadeltasigma.web.unc.edu
Social Greek Organizations (Spring Registration)   http://www.dkeunc.com
Social Greek Organizations (Fall Registration)     http://uncdpo.wix.com/unccolony
Social Greek Organizations (Spring Registration)   https://www.deltasigmaiota.org/
Social Greek Organizations (Spring Registration)   http://deltasigunc.com
RSO (Spring Registration)                          http://www.uncdsp.com/
Social Greek Organizations (Fall Registration)     http://www.uncdeltas.com
Social Greek Organizations (Spring Registration)   ncdeltau.org
RSO (Fall Registration)                            http://dfaunc.wix.com/dfaunc
RSO (Fall Registration)                            http://www.diphi.web.unc.edu
RSO (Fall Registration)                            http://www.dozendoughnutdash.com
RSO (Fall Registration)                            http://uncease.web.unc.edu/
RSO (Fall Registration)                            http://studentorgs.law.unc.edu/elps/default.aspx
Organization Name                                                 Category                   Short Name
Ek Taal                                                           Performance                Ek Taal
Embracing Dental Research Journal Club                            Academic                   EDR Journal Club
Enabling Technology Club                                          Service                    ETC
Engineers Without Borders                                         Service                    EWB
ENNEAD: The UNC Student Chapter of AAPHD                          Service                    ENNEAD
ENT Interest Group                                                Academic                   ENTIG
Entrepreneurial Law Association                                   Special Interest           ELA
Environmental Law Project                                         Academic                   ELP
Epidemiology Student Organization                                 Academic                   ESO
Episcopal Campus Ministry                                         Faith & Religion           ECM
Epsilon Eta Environmental Honors Fraternity                       Academic                   Epsilon Eta
Eshelman School of Pharmacy Class of 2018                         Academic                   ESOP Class of 2018
Eshelman School of Pharmacy Class of 2019                         Academic                   ESOP Class of 2019
Eshelman School of Pharmacy, Class of 2020                        Academic                   ESOP, Class of 2020
European Horizons at Carolina                                     Cultural & International   EHC
Eve Carson Scholarship Program                                    Special Interest           Eve Carson Scholarship
Every Nation Campus                                               Faith & Religion           Every Nation Campus
Executive Branch Of Student Government                            Student Government         E-Branch
False Profits                                                     Performance
Falun Dafa Club                                                   Special Interest           FLDF
Federalist Society                                                Ideology & Politics        FedSoc
Fellowship of Christian Athletes                                  Faith & Religion           FCA
Females Excelling More in Mathematics, Engineering, and Science   Academic                   FEMMES
Feminist Students United                                          Ideology & Politics        FSU
Financial Literacy Initiative                                     Academic                   FLI
First Amendment Law Review                                        Academic                   FALR
First Nations Graduate Circle                                     Cultural & International   FNGC
Fitness Breaks                                                    Service                    Fitness Breaks
FLO Food                                                          Special Interest           FLO
FOCUS - Graduate Intervarsity Christian Fellowship                Faith & Religion           FOCUS
Food Network-ing                                                  Special Interest           FN
Food Recovery Network at Chapel Hill                              Service                    FRN
Food Security Projects                                            Service                    GFSC
Registration Type           Website
RSO (Fall Registration)     http://ektaal.web.unc.edu/
RSO (Fall Registration)     http://edrjournalclub.web.unc.edu
RSO (Fall Registration)     https://www.facebook.com/groups/226651371028347/
RSO (Fall Registration)     http://uncewb.wordpress.com/
RSO (Fall Registration)     http://uncennead.com/
RSO (Fall Registration)     http://www.med.unc.edu/md/orgs/entig
RSO (Fall Registration)
RSO (Fall Registration)     http://studentorgs.law.unc.edu/elp/default.aspx
RSO (Fall Registration)     http://unceso.web.unc.edu/
RSO (Fall Registration)     https://thechapelofthecross.org/sharing-our-faith/episcopal-campus-ministry/
RSO (Fall Registration)     http://epsiloneta.web.unc.edu/
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Fall Registration)     http://evecarsonscholarship.org/
RSO (Fall Registration)     http://www.uncencm.com/
RSO (Fall Registration)     https://studentgovernment.web.unc.edu/undergraduate/undergraduate-executive-branch/
RSO (Spring Registration)   http://www.fpcomedy.com
RSO (Spring Registration)   http://www.falundafa-nc.org/
RSO (Fall Registration)     http://studentorgs.law.unc.edu/fedsoc/default.aspx
RSO (Fall Registration)
RSO (Spring Registration)
RSO (Fall Registration)
RSO (Fall Registration)     http://uncfli.web.unc.edu/
RSO (Fall Registration)     http://www.firstamendmentlawreview.org/
RSO (Fall Registration)     http://fngc.web.unc.edu/
RSO (Fall Registration)     https://fitnessbreaks.wordpress.com/
RSO (Fall Registration)     http://flofood.weebly.com/
RSO (Spring Registration)   http://ivgcf.web.unc.edu/
RSO (Spring Registration)
RSO (Fall Registration)     http://www.foodrecoverynetwork.org
RSO (Fall Registration)
Organization Name                                                               Category                   Short Name
Foundation for International Medical Relief of Children                         Service                    FIMRC
Francophiles - The French Club                                                  Cultural & International   Francophiles
Frank Porter Graham Graduate And Professional Student Honor Society             Special Interest           FPG Honor Society
Fraternity Of Delta Psi - St Anthony Hall                                       Fraternity & Sorority      St A's
Free and Independent                                                            Cultural & International   F&I
Friendship Association Of Chinese Students And Scholars                         Cultural & International   FACSS
Fun Tabletop Gaming Network                                                     Special Interest           FTaGN
Future Business Leaders of America - Phi Beta Lambda                            Academic                   FBLA-PBL
Gamma Omega Crescent Colony of Delta Tau Delta                                  Fraternity & Sorority      Delts
Gamma Sigma Alpha Academic Greek Honorary                                       Fraternity & Sorority      Gamma Sigma Alpha
Girl Up UNC-CH                                                                  Special Interest
Girls Engineering Change, University of North Carolina at Chapel Hill Chapter   Service                    GEC UNC-CH
Global Brigades                                                                 Service                    Global Brigades
Global Medical Training At UNC-CH                                               Service                    GMT
Global Music Outreach                                                           Service                    GloMO
GlobeMed At UNC-CH                                                              Service                    GlobeMed
Golden Key International Honour Society                                         Fraternity & Sorority      Golden Key International Hono
GoMeals!                                                                        Service
Grace@UNC-CH                                                                    Faith & Religion           Grace
Graduate and Professional School Honor Court                                    Student Government
Graduate and Professional School Student Attorney General Staff                 Student Government
Graduate And Professional Student Federation                                    Student Government         GPSF
Graduate Association for Geography Students                                     Academic                   GAGS
Graduate Environment and Ecology Association                                    Academic                   GEEA
Graduate Mathematics Association                                                Academic                   GMA
Graduate Research and Intervention in the South                                 Cultural & International   GRITS
Graduate Romance Association                                                    Academic                   GRA
Graduate Student Organization - Eshelman School Of Pharmacy                     Special Interest           GSO- ESOP
Great Decisions                                                                 Academic                   Great Decisions
Greek Alliance Council                                                          Fraternity & Sorority      GAC
Growth International Volunteer Excursions                                       Cultural & International   GIVE
Hanmaum Church Ministry                                                         Faith & Religion           Hanmaum EM
Healing Heels                                                                   Service
Registration Type                                  Website
RSO (Spring Registration)                          http://www.fimrc.org
RSO (Fall Registration)                            http://www.facebook.com/groups/UNCfrancophiles
RSO (Fall Registration)
Social Greek Organizations (Spring Registration)   http://deltapsi.unc.edu
RSO (Fall Registration)
RSO (Fall Registration)                            http://www.uncchina.org
RSO (Fall Registration)                            http://ftagn.web.unc.edu
RSO (Fall Registration)
Social Greek Organizations (Spring Registration)
Social Greek Organizations (Spring Registration)   http://gammasigmaalpha.org
RSO (Fall Registration)
RSO (Fall Registration)                            http://girlsengineeringchange.org
RSO (Fall Registration)                            https://www.globalbrigades.org
RSO (Spring Registration)                          http://gmt.web.unc.edu
RSO (Fall Registration)                            http://uncglobalmusic.weebly.com
RSO (Fall Registration)                            https://globemedatuncch.wordpress.com/
RSO (Fall Registration)                            http://www.goldenkey.org
RSO (Fall Registration)
RSO (Fall Registration)                            http://www.gracelife.com/whatwedo/college/
RSO (Fall Registration)                            http://honor.unc.edu/
RSO (Fall Registration)                            http://honor.unc.edu
RSO (Fall Registration)                            http://gpsf.unc.edu
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Fall Registration)                            http://pharmacy.unc.edu/about-us/student-organizations/graduate-student-organization
RSO (Fall Registration)                            http://www.ibiblio.org/grtdecsn/
Social Greek Organizations (Spring Registration)   http://greeks.unc.edu
RSO (Spring Registration)                          http://www.givevolunteers.org/
RSO (Fall Registration)                            http://hanmaum-em-wh9e.squarespace.com/ministries/
RSO (Fall Registration)                            http://uncchhealingheels.web.unc.edu/
Organization Name                                         Category                   Short Name
Health Informatics Hub                                    Special Interest           HIH
Health Policy And Management Masters Student Council      Student Government         HPMMSC
Healthy Girls Save the World                              Service                    HGSW
Heelraisers Council                                       Special Interest           Heelraisers Council
Heels for Israel                                          Ideology & Politics        HFI
Help Me See                                               Service
Helping Give Away Psychological Science                   Academic                   HGAPS
Hematology Oncology Interest Group                        Academic                   HOIG
Hindu Yuva                                                Faith & Religion           Hindu Yuva
Hispanic Latino Law Student Association                   Cultural & International   HLLSA
Hispanic Transfer Association                             Cultural & International   HTA
Hmong Students Association Of Carolina                    Cultural & International   HSAC
Holderness Moot Court                                     Academic                   Holderness Moot Court
Honduran Health Alliance                                  Service                    HHA
Honor System Outreach                                     Student Government         HSO
Humanism in Medicine Interest Group                       Special Interest
IFC Pharmacy Clinic                                       Service                    IFCPC
iGEM @ UNC-CH                                             Special Interest           UNC iGEM
Immigration Law Association                               Academic                   ILA
Information And Library Science Student Association       Student Government         ILSSA
Information Science Student Undergraduates Empowered      Academic                   ISSUE
INSPIRE                                                   Service                    INSPIRE
Institute of Politics                                     Service                    IOP
Intercollegiate Finance Journal at UNC-Chapel Hill        Media                      IFJ@UNC-CH
Interdisciplinary Health and Occupational Professionals   Academic                   IHOP
Interfraternity Council                                   Fraternity & Sorority      IFC
Internal Medicine - Pediatrics Interest Group             Academic                   Med-Peds / MPIG
Internal Medicine Interest Group                          Academic                   IMIG
International And Comparative Law Organization            Cultural & International   ICLO
International Friends                                     Faith & Religion           International Friends
International Society for Pharmacoepidemiology            Academic                   ISPE - UNC-CH
Intervarsity Christian Fellowship                         Faith & Religion           IVCF
Islamicate Graduate Student Association                   Academic                   IGSA
Registration Type                                  Website
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Fall Registration)                            http://healthygirlssavetheworld.org/
RSO (Fall Registration)                            http://giving.unc.edu/supporters/students/student-giving-council/
RSO (Spring Registration)
RSO (Fall Registration)
RSO (Fall Registration)                            https://en.wikiversity.org/wiki/Helping_Give_Away_Psychological_Science
RSO (Spring Registration)
RSO (Fall Registration)                            http://www.hinduyuva.org/
RSO (Fall Registration)
RSO (Fall Registration)                            http://unc-hta.weebly.com
RSO (Fall Registration)                            http://www.hmong.web.unc.edu
RSO (Fall Registration)                            http://studentorgs.law.unc.edu/mootcourt/
RSO (Spring Registration)                          http://www.med.unc.edu/hha/
RSO (Fall Registration)                            http://honor.unc.edu/
RSO (Spring Registration)
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Spring Registration)                          http://ilssa.unc.edu
RSO (Fall Registration)
RSO (Fall Registration)                            http://inspire.web.unc.edu
RSO (Spring Registration)                          www.unciop.org
RSO (Spring Registration)                          http://theifj.com/
RSO (Spring Registration)
Social Greek Organizations (Spring Registration)   http://ifcunc.com
RSO (Spring Registration)                          http://www.med.unc.edu/md/orgs/mpig
RSO (Spring Registration)                          http://www.med.unc.edu/imig
RSO (Fall Registration)
RSO (Fall Registration)                            http://internationalfriends.org/
RSO (Fall Registration)                            http://pharmacoepi.unc.edu/harry-guess-memorial-lecture/
RSO (Fall Registration)                            http://www.unciv.com
RSO (Fall Registration)
Organization Name                                                    Category                   Short Name
J Street UNC-CH                                                      Ideology & Politics        J Street UNC
Japan Club                                                           Cultural & International   Japan Club
Jewish Law Association                                               Faith & Religion           JLA
John B Graham Student Research Society                               Academic                   JBG
Jon Curtis Student Enrichment Fund                                   Service                    SEF
Journey Christian Fellowship                                         Faith & Religion           JCF
Kamikazi Hip Hop Dance Team                                          Performance                Kamikazi
Kappa Alpha Order Fraternity                                         Fraternity & Sorority      Kappa Alpha (KA)
Kappa Alpha Psi Fraternity Inc                                       Fraternity & Sorority      Kappa Alpha Psi
Kappa Delta Sorority                                                 Fraternity & Sorority      KD
Kappa Epsilon Professional Pharmacy Fraternity - Lambda Chapter      Fraternity & Sorority      Kappa Epsilon
Kappa Kappa Gamma - Epsilon Gamma Chapter                            Fraternity & Sorority      Kappa, KKG
Kappa Kappa Psi Honorary Band Fraternity                             Fraternity & Sorority      Kappa Kappa Psi
Kappa Phi Lambda Sorority, Inc.                                      Fraternity & Sorority      KPL
Kappa Psi Pharmaceutical Fraternity                                  Fraternity & Sorority      Kappa Psi
Kappa Sigma                                                          Fraternity & Sorority      Kappa Sigma
Kasama - The Filipino American Association Of UNC-CH                 Cultural & International   Kasama
Kenan-Flagler Undergraduate Business Ambassadors                     Special Interest
Kingdom Serve                                                        Service                    KS
Klesis Christian Fellowship UNC-CH                                   Faith & Religion
Korean Association Of Students And Scholars                          Cultural & International   KASS
Korean-American Student Association                                  Cultural & International   KASA
LAB! Theatre                                                         Performance                LAB! Theatre
Lambda Chi Alpha Fraternity                                          Fraternity & Sorority      Lambda Chi Alpha
Lambda Law Students Association                                      Special Interest           LLSA
Lambda Phi Epsilon Fraternity, Inc.                                  Fraternity & Sorority      LPhiE
Lambda Pi Eta (Theta Kappa Chapter)                                  Academic                   LPE
Latinas Promoviendo Comunidad/Lambda Pi Chi Sorority, Incorporated   Fraternity & Sorority      LPC
Latino Medical Student Association                                   Cultural & International   LMSA
Latter-Day Saint Student Association                                 Faith & Religion           LDSSA
Law Students Against Sexual and Domestic Violence                    Special Interest
Law Students For Reproductive Justice                                Special Interest           LSRJ
LGBdenT                                                              Special Interest           Dental LGBTIQ Alliance
Registration Type                                  Website
RSO (Spring Registration)                          http://www.jstreetu.org/
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Spring Registration)                          https://www.med.unc.edu/jbg
RSO (Fall Registration)                            http://sef.unc.edu
RSO (Fall Registration)                            https://journeync.org
RSO (Fall Registration)                            http://www.unckamikazi.com/
Social Greek Organizations (Spring Registration)   http://www.kaunc.org
Social Greek Organizations (Fall Registration)     http://unc-nupes.com/
Social Greek Organizations (Spring Registration)   http://ec2-54-81-65-83.compute-1.amazonaws.com/kdunc/index
RSO (Fall Registration)                            http://studentorgs.unc.edu/ke/
Social Greek Organizations (Spring Registration)   https://chapters.kappakappagamma.org/epsilongamma/
RSO (Fall Registration)                            http://kkpsimueta.wordpress.com/
Social Greek Organizations (Fall Registration)     http://unckpl.wix.com/unckpl
RSO (Fall Registration)                            http://kappapsibetaxi.webs.com/
Social Greek Organizations (Spring Registration)   http://www.kappasigmaunc.com/
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Fall Registration)                            http://unc.klesis.org
RSO (Fall Registration)                            http://www.unckass.com
RSO (Fall Registration)
RSO (Fall Registration)                            http://thelabtheatre.web.unc.edu
Social Greek Organizations (Spring Registration)   gammanuzeta.com
RSO (Fall Registration)                            http://studentorgs.law.unc.edu/llsa/
Social Greek Organizations (Spring Registration)   http://www.unclambdas.com
RSO (Fall Registration)
Social Greek Organizations (Fall Registration)     http://www.lambdapichi.org
RSO (Spring Registration)                          http://med.unc.edu/lmsa
RSO (Fall Registration)                            http://durhamldssa.blogspot.com/
RSO (Fall Registration)                            http://studentorgs.law.unc.edu/dvap/
RSO (Fall Registration)                            http://lsrj.org/
RSO (Fall Registration)                            https://lgbdent.web.unc.edu/
Organization Name                                                  Category                   Short Name
LGBTQ Health Disparities Research Collaborative                    Academic                   LGBTQ HDRC
Liberty In North Korea - UNC-CH Chapter                            Service                    LiNK
LingoKids: Carolina Language Outreach                              Service                    LingoKids
Linguistics Graduate Student Association                           Academic                   LGSA
Lutheran Campus Ministry                                           Faith & Religion           LCM
Maker Network                                                      Special Interest           MakNet
Manna Project International                                        Service                    MPI
Master Of Accounting Student Association                           Academic                   MACSA
MBA Student Association at UNC Kenan-Flagler                       Student Government         MBASA
Medical Mentors Program                                            Special Interest           MMP
Mens Club Basketball                                               Sport Clubs                Mens Basketball
Mentoring Future Leaders in Pharmacy                               Academic                   M-FLIP
MEZCLA                                                             Media                      MEZCLA
Middle-Eastern Refugee Project                                     Service                    MERP
Mighty Arms Of Atlas                                               Performance                Mighty Arms Of Atlas
Miles for Smiles/Cleft Palate Gallop                               Service
Military Dental Student Association                                Academic                   MDSA
Military Medicine Interest Group                                   Academic                   MMIG
Minority Association of Pre-Health Students                        Academic                   MAPS
Minority Business Student Alliance                                 Academic                   MBSA
Misconception Dance Company                                        Performance                Misconception or MCOC
Mixed Asian Students' Heritage Club                                Cultural & International   MASH
Mobile Health Clinic Interest Group                                Service                    Samaritan Health Mobile Clini
Modernextension Dance Company                                      Sport Clubs                Modernextension
Moneythink                                                         Service
Monsoon                                                            Cultural & International
Moonlight Hip Hop Dance Crew                                       Performance                MDC
Movement of Youth at UNC-Chapel Hill                               Service                    MOY
MPA ICMA Student Chapter                                           Special Interest           ICMA Student Chapter
Musical Empowerment                                                Service                    ME
Muslim Students Association                                        Faith & Religion           MSA
National Alliance on Mental Illness on Campus at UNC-Chapel Hill   Service                    NAMI
National Association For The Advancement Of Colored People         Special Interest           NAACP
Registration Type                       Website
RSO (Fall Registration)
RSO (Fall Registration)                 http://unclink.wordpress.com/
RSO (Fall Registration)                 http://lingokidsclo.wordpress.com/
RSO (Spring Registration)
RSO (Fall Registration)                 http://holytrinitychapelhill.org/lcm/
RSO (Fall Registration)                 http://maknet.web.unc.edu/
RSO (Fall Registration)                 http://www.mannaproject.org
RSO (Fall Registration)                 http://www.kenan-flagler.unc.edu/programs/mac/index.cfm
RSO (Fall Registration)
RSO (Spring Registration)               http://med.unc.edu/md/orgs/mmp
RSO - Sport Clubs (Fall Registration)   http://uncclubbasketball.sports.officelive.com/default.aspx
RSO (Fall Registration)
RSO (Fall Registration)                 http://www.mezcla.web.unc.edu
RSO (Fall Registration)
RSO (Fall Registration)                 https://sites.google.com/site/mightyarmsclub/
RSO (Fall Registration)                 http://cleftpalategallop.com/
RSO (Fall Registration)
RSO (Spring Registration)
RSO (Fall Registration)                 http://mapsunc.weebly.com/
RSO (Fall Registration)
RSO (Fall Registration)                 http://youtube.com/misconceptionunc
RSO (Fall Registration)
RSO (Spring Registration)               http://mobileclinic.web.unc.edu
RSO - Sport Clubs (Fall Registration)   http://campusrec.unc.edu/sport-clubs#121
RSO (Spring Registration)               http://moneythink.org
RSO (Fall Registration)                 http://monsoon.web.unc.edu
RSO (Fall Registration)                 http://uncmoonlight.com/
RSO (Fall Registration)                 http://www.movementofyouth.org
RSO (Fall Registration)                 http://www.mpa.unc.edu/students/icma
RSO (Fall Registration)                 http://www.musical-empowerment.org/
RSO (Fall Registration)                 http://www.uncmsa.org/
RSO (Fall Registration)                 http://nami.web.unc.edu
RSO (Fall Registration)
Organization Name                                                        Category                   Short Name
National Lawyers Guild - UNC Chapter                                     Special Interest           NLG-UNC
National Press Photographers Association Student Chapter - UNC-CH        Media                      NPPA - UNC-CH
National Residence Hall Honorary Society of Janus                        Service                    NRHH
National Society of Black Engineers                                      Academic/Honor Society     NSBE
National Society Of Collegiate Scholars                                  Academic                   NSCS
National Student Speech Language and Hearing Association - Graduate ChaptAcademic                   NSSLHA-Graduate
National Student Speech Language Hearing Association - Undergraduate     Special Interest           NSSLHA - UGRAD
Native American Law Student Association                                  Cultural & International   NALSA
NC-HCAP'S HEALTH CAREERS CLUB                                            Special Interest           Health Careers Club
Net Impact Club                                                          Special Interest
Neural Connections                                                       Service                    None
New Bethel College Ministry UNC-CH Chapter                               Faith & Religion           New Bethel College Ministry
Newman Catholic Student Center Parish                                    Faith & Religion           Newman Center
No Lost Generation                                                       Cultural & International
North Carolina Banking Institute Journal                                 Academic                   NCBIJ
North Carolina Journal of International Law                              Academic                   NCILJ
North Carolina Journal Of Law And Technology                             Academic                   NC JOLT
North Carolina Law Review Association                                    Academic                   NCLR
North Carolina Public Interest Research Group                            Ideology & Politics        NCPIRG
Nutrition Coalition                                                      Academic                   Nutrition Coalition
Offshore Carolina - Scuba Club                                           Special Interest           Offshore Carolina - Scuba Club
Omega Phi Beta Sorority, Incorporated                                    Fraternity & Sorority      Omega Phi Beta
Omega Psi Phi Fraternity Inc - Psi Delta Chapter                         Fraternity & Sorority      Omega Men
Omni Carolina                                                            Special Interest
One Act                                                                  Special Interest
ONE Campaign at UNC Chapel Hill                                          Ideology & Politics        ONE at UNC-CH
Operation Building Courage                                               Service                    Operation Building Courage
Operation Smile UNC-Chapel Hill                                          Service
Ophthalmology Interest Group                                             Academic                   OIG
Order of Omega                                                           Fraternity & Sorority
Order Of The Bell Tower                                                  Special Interest           OBT
Order Of The Golden Fleece                                               Special Interest           Fleece
Order Of The Grail-Valkyries                                             Academic                   Grail-Valkyries
Registration Type                                Website
RSO (Fall Registration)                          http://www.nlg.org/
RSO (Fall Registration)                          http://carolinaphotojournalism.org/
RSO (Fall Registration)                          http://nrhhunc1.wordpress.com
RSO (Fall Registration)
RSO (Fall Registration)                          http://www.nscs.org/
RSO (Fall Registration)
RSO (Fall Registration)                          http://nsslha.web.unc.edu
RSO (Fall Registration)                          http://studentorgs.law.unc.edu/nalsa/default.aspx
RSO (Fall Registration)                          http://unchealthcareersclub.weebly.com/
RSO (Fall Registration)                          http://www.kenan-flagler.unc.edu/sustainable-enterprise/careers/net-impact-club
RSO (Spring Registration)                        https://neuralconnections.web.unc.edu/
RSO (Fall Registration)                          http://www.nbethelbaptist.com
RSO (Fall Registration)                          http://www.newman-chapelhill.org/
RSO (Fall Registration)
RSO (Fall Registration)                          www.law.unc.edu/journals/ncbank/
RSO (Fall Registration)                          http://www.law.unc.edu/journals/ncilj/about/default.aspx
RSO (Fall Registration)                          http://ncjolt.org/
RSO (Fall Registration)                          http://www.nclawreview.org/
RSO (Fall Registration)                          ncpirg.org
RSO (Fall Registration)                          http://nutritioncoalition.web.unc.edu/
RSO (Fall Registration)
Social Greek Organizations (Fall Registration)   http://www.omegaphibeta.org
Social Greek Organizations (Fall Registration)
RSO (Fall Registration)
RSO (Fall Registration)                          https://studentwellness.unc.edu/oneact
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Fall Registration)                          http://www.med.unc.edu/oig
RSO (Fall Registration)                          http://greeks.unc.edu/index.php?option=com_content&task=blogcategory&id=56&Itemid=
RSO (Fall Registration)                          http://www.obt.unc.edu
RSO (Fall Registration)                          http://ogf.unc.edu/
RSO (Spring Registration)
Organization Name                                             Category                   Short Name
Organization For African Students' Interests And Solidarity   Cultural & International   OASIS
Out-Of-State Student Association                              Cultural & International   OSSA
Outreach360 of UNC-CH                                         Service
Oxfam America at UNC-CH                                       Cultural & International
Pacific Islander Student Association                          Cultural & International
Panhellenic Council                                           Fraternity & Sorority      Panhel
Peace War and Defense Alumni Association                      Academic                   PWADAA
Pediatric Interest Group                                      Special Interest           PIG
Pencils of Promise at UNC-CH                                  Service                    PoPUNC-CH
Persian Cultural Society                                      Cultural & International   PCS
Phi Beta Chi                                                  Fraternity & Sorority      PBX
Phi Beta Sigma Fraternity Inc                                 Fraternity & Sorority      Phi Beta Sigma
Phi Delta Chi Pharmacy Fraternity                             Fraternity & Sorority      PDC
Phi Delta Theta Fraternity                                    Fraternity & Sorority      Phi Delta Theta
Phi Gamma Delta                                               Fraternity & Sorority      Phi Gam
Phi Lambda Sigma                                              Fraternity & Sorority      PLS
Phi Mu Alpha Sinfonia                                         Fraternity & Sorority      Phi Mu Alpha Sinfonia
Phi Mu Sorority                                               Fraternity & Sorority      Phi Mu
Phi Sigma Nu Fraternity                                       Fraternity & Sorority      Phi Sigma Nu
Phi Sigma Pi Co-Ed National Honor Fraternity                  Fraternity & Sorority      Phi Sigma Pi
Physical Medicine and Rehabilitation Interest Group           Academic                   PMRSIG
Physicians For Human Rights UNC-CH Chapter                    Service                    PHR - UNC-CH
PI ALPHA PHI                                                  Fraternity & Sorority      PI ALPHA PHI
Pi Beta Phi Sorority                                          Fraternity & Sorority      Pi Phi
Pi Delta Phi â€“ The National French Honor Society            Academic
Pi Kappa Alpha                                                Fraternity & Sorority      PiKA
Pi Kappa Phi Fraternity                                       Fraternity & Sorority      Pi Kappa Phi
Pi Lambda Phi Fraternity                                      Fraternity & Sorority      Pilam
Planners' Forum                                               Academic
Pleiades - UNC-CH Womens Ultimate Frisbee                     Sport Clubs                Pleiades - UNC-CH Womens U
Pleiades UNC-CH Womens Ultimate - White                       Sport Clubs                Pleiades UNC-CH Womens Ult
Pre-Physical-Occupational Therapy Club                        Academic                   PRE-PT/OT
Pre-Veterinary Club Of UNC-CH                                 Academic                   Pre-Vet Club Of UNC-CH
Registration Type                                  Website
RSO (Fall Registration)                            http://oasisunc.web.unc.edu
RSO (Fall Registration)                            http://outofstatestudentsassociation.web.unc.edu
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Spring Registration)
Social Greek Organizations (Spring Registration)   http://uncpanhellenic.com
RSO (Fall Registration)                            http://pwadaa.web.unc.edu
RSO (Spring Registration)                          http://www.med.unc.edu/pig
RSO (Fall Registration)                            https://fundraise.pencilsofpromise.org/fundraise/team?ftid=89787
RSO (Fall Registration)
Social Greek Organizations (Spring Registration)   http://www.uncphibetachi.com/
Social Greek Organizations (Fall Registration)     http://www.pbs1914.org/
RSO (Fall Registration)                            http://phideltachi.web.unc.edu
Social Greek Organizations (Spring Registration)   http://www.phideltatheta.org/index.php
Social Greek Organizations (Spring Registration)
RSO (Fall Registration)
RSO (Fall Registration)                            http://www.pma-alpha-rho.org
Social Greek Organizations (Spring Registration)   http://www.uncphimu.com/
Social Greek Organizations (Fall Registration)
RSO (Fall Registration)                            http://phisigmapi.web.unc.edu/
RSO (Spring Registration)
RSO (Spring Registration)                          http://med.unc.edu/phr
Social Greek Organizations (Fall Registration)     http://pialphaphi.web.unc.edu
Social Greek Organizations (Spring Registration)   http://www.pibetaphi.org/pibetaphi/unc/
RSO (Fall Registration)                            http://www.augie.edu/related/pideltaphi/
Social Greek Organizations (Spring Registration)   http://www.uncpika.com
Social Greek Organizations (Spring Registration)   http://www.carolinapikapps.com/
Social Greek Organizations (Spring Registration)   http://www.pilamunc.com/
RSO (Spring Registration)
RSO - Sport Clubs (Fall Registration)              http://pleiadesultimate.web.unc.edu/
RSO - Sport Clubs (Fall Registration)
RSO (Fall Registration)
RSO (Fall Registration)
Organization Name                                            Category                   Short Name
Presbyterian Campus Ministry                                 Faith & Religion           PCM
Project Dinah                                                Service                    Project Dinah
Project Krav Maga                                            Special Interest           PKM
Project Rural India Social and Health Improvement            Service                    Project RISHI
Project Sunshine - Carolina                                  Service
Promoting Innovations and Collaborations in Health           Academic                   PI+CH
Psalm 100 Christian A Cappella Ensemble                      Performance                Psalm 100
Psi Chi - Psychology National Honor Society - UNC-CH         Academic                   Psi Chi
Psychiatry Interest Group                                    Academic                   PsychIG
Public Health Leadership Student Association                 Academic                   PHLSA
Public Policy Majors Union                                   Academic                   PPMU
Radiology Interest Group                                     Academic                   RIG
Raising Awareness for Children's Existence                   Service                    R.A.C.E
Rameses Root's Revivalists-An Americana Acoustic Jam Club    Performance                Jam club
Rams' Recognition                                            Service                    Rams' Rec
Recreational Women's Lacrosse                                Special Interest
Reformed University Fellowship                               Faith & Religion           RUF
Relay For Life of UNC-CH                                     Service                    RFL of UNC-CH
Renewable Energy Special Projects Committee                  Student Government         RESPC
Residence Hall Association                                   Student Government         RHA
Rho Chi Pharmacy Honor Society                               Academic                   Rho Chi
Roc Solid Carolina                                           Service
Sangam                                                       Cultural & International   Sangam
Scholars' Latino Initiative                                  Special Interest           SLI
School Of Education Graduate Student Association             Academic                   SOE GSA
School of Media and Journalism Graduate Student Associatio   Academic
School of Nursing Undergraduate Student Governance Council   Student Government
School Of Public Health Student Government                   Student Government         Public Health Student Governm
Science and Business Club                                    Special Interest           GCC
ScienceDays                                                  Service
Secular Students of Carolina                                 Ideology & Politics        SSC
Senior Class Marshals                                        Student Government         Seniors
Sexuality and Gender Alliance                                Special Interest           SAGA
Registration Type           Website
RSO (Fall Registration)     http://uncpcm.wordpress.com/
RSO (Fall Registration)     http://projectdinah.web.unc.edu/
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Fall Registration)     http://projectsunshine.org
RSO (Fall Registration)
RSO (Fall Registration)     http://www.uncpsalm100.com
RSO (Fall Registration)     http://www,psichi.org
RSO (Spring Registration)   http://www.med.unc.edu/psychig
RSO (Fall Registration)
RSO (Fall Registration)     http://publicpolicy.unc.edu/undergraduates/PPMU
RSO (Spring Registration)   http://www.med.unc.edu/rig
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Fall Registration)     http://instagram.com/ruf_unc
RSO (Fall Registration)     http://relayforlife.org/uncnc
RSO (Fall Registration)     http://respc.web.unc.edu
RSO (Fall Registration)     http://rha.unc.edu
RSO (Fall Registration)     http://rhochi.org/
RSO (Fall Registration)
RSO (Fall Registration)     http://www.uncsangam.org
RSO (Fall Registration)     http://uncsli.weebly.com/
RSO (Fall Registration)     http://soe.unc.edu/gsa/
RSO (Fall Registration)     http://studentorgs.unc.edu/gsasoj/index.php/home
RSO (Fall Registration)     http://nursing.unc.edu/current-students/undergraduate-student-governance-council/
RSO (Fall Registration)
RSO (Fall Registration)     https://www.uncsbc.com
RSO (Fall Registration)     http://uncsciencedays.wordpress.com
RSO (Spring Registration)
RSO (Fall Registration)     http://uncseniors2016.com/
RSO (Spring Registration)
Organization Name                                                         Category                   Short Name
She's the First                                                           Service
Sigma Alpha Epsilon                                                       Fraternity & Sorority      Sigma Alpha Epsilon
Sigma Alpha Iota - Iota Tau Chapter                                       Fraternity & Sorority      SAI
Sigma Alpha Lambda                                                        Service                    SAL
Sigma Chi Fraternity - Alpha Tau Chapter                                  Fraternity & Sorority      Sigma Chi
Sigma Delta Pi - National Collegiate Hispanic Honor Society               Academic                   SDP
Sigma Gamma Epsilon: National Honors Society for the Geological Sciences Academic                    SGE
Sigma Gamma Rho Sorority Inc                                              Fraternity & Sorority      Sigma Gamma Rho (SGRho)
Sigma Nu Fraternity                                                       Fraternity & Sorority      Sigma Nu
Sigma Phi Epsilon Fraternity                                              Fraternity & Sorority      SigEp
Sigma Rho Lambda                                                          Fraternity & Sorority      SRL
Sigma Sigma Sigma                                                         Fraternity & Sorority      Sigma
Sigma Tau Delta - International English Honor Society                     Academic                   ETA
Social Work Student Organization                                          Academic                   SoWoSO
Society For Anthropology Students                                         Academic                   SAS
Society for Human Resource Management Student Chapter at UNC-Chapel H Academic                       UNC SHRM
Society For News Design                                                   Academic                   Society For News Design
Society for the Advancement of Chicanos/Hispanics and Native Americans in Cultural & International   SACNAS
Society of Undergraduate Anthropologists                                  Academic                   S.U.A.
Special Olympics College UNC-CH                                           Service                    Wood SO
Splash UNC                                                                Service
Sports and Entertainment Law Association                                  Academic                   SELA
Sports Medicine Interest Group                                            Academic                   SMIG
Spurgeon Student Government                                               Student Government         Spurgeon Dental Society
Standardize Carolina                                                      Service
Star Heels Dance Team                                                     Performance                Star Heels Dance Team
STEAM Outreach Achievement Recreation                                     Service                    SOAR
Student Attorney General Staff                                            Student Government         AG Staff
Student Bar Association                                                   Student Government         SBA
Student Branch of the Carolina Christian Study Center                     Faith & Religion           NC Study Center
Student Chapter of the American Library Association                       Academic                   SCALA
Student Chapter Of The Society Of American Archivists                     Academic                   SCOSAA
Student Congress                                                          Student Government         Congress
Registration Type                                  Website
RSO (Fall Registration)                            http://www.shesthefirst.org/
Social Greek Organizations (Spring Registration)   http://saeunc.com/
RSO (Fall Registration)                            http://sigmaalphaiota.web.unc.edu
RSO (Fall Registration)                            http://www.salhonors.org/subpages/unc.asp?navid=&id=26
Social Greek Organizations (Spring Registration)   http://sigmachi.com
RSO (Fall Registration)                            http://roml.unc.edu/undergraduate-programs/honor-societies/sigma-delta-pi/
RSO (Fall Registration)                            https://sigmagammaepsilon.wordpress.com
Social Greek Organizations (Fall Registration)     http://www.sgrho1922.org
Social Greek Organizations (Fall Registration)     http://www.uncsigmanu.com/
Social Greek Organizations (Spring Registration)   http://sigepunc.com
Social Greek Organizations (Spring Registration)   http://uncsrl.wix.com/srl-2#!
Social Greek Organizations (Spring Registration)   http://www.unctrisigma.com/
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Fall Registration)                            http://sas.web.unc.edu
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Fall Registration)                            http://SACNAS.org
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Fall Registration)                            http://splash.web.unc.edu
RSO (Fall Registration)
RSO (Spring Registration)                          http://www.med.unc.edu/md/orgs/uncsportsmed
RSO (Spring Registration)                          https://www.dentistry.unc.edu/experience/unclife/orgs/spurgeon/
RSO (Fall Registration)
RSO (Spring Registration)                          http://starheelsdanceteam.web.unc.edu
RSO (Fall Registration)                            https://uncsoar.web.unc.edu/about/
RSO (Fall Registration)                            http://honor.unc.edu
RSO (Fall Registration)                            http://studentorgs.law.unc.edu/sba/default.aspx
RSO (Spring Registration)                          http://www.ncstudycenter.org
RSO (Spring Registration)                          http://scala.web.unc.edu/
RSO (Spring Registration)                          https://uncscosaa.web.unc.edu/
RSO (Fall Registration)                            http://studentcongress.web.unc.edu/
Organization Name                                                              Category                   Short Name
Student Friends Of The Ackland Art Museum                                      Special Interest           Student Friends Of The Acklan
Student Global Health Committee                                                Academic                   SGHC
Student Health Action Coalition                                                Service                    SHAC
Student Hip Hop Organization                                                   Cultural & International   SHHO
Student National Medical Association                                           Special Interest           SNMA
Student National Pharmaceutical Association                                    Service                    SNPhA
Student Occupational Therapy Association                                       Special Interest           SOTA
Student Organization for Undergraduate Literature                              Academic                   SOUL
Student Supreme Court                                                          Student Government         Student Supreme Court
Student Television                                                             Media                      STV
Student United Way                                                             Ideology & Politics
Students for Education Reform at UNC-Chapel Hill                               Special Interest           SFER UNC-CH
Students for Environmental Justice and Nuclear Awareness                       Ideology & Politics        SEJNA
Students for Justice in Palestine                                              Ideology & Politics        SJP
Students For Students International                                            Service                    S4Si
Students for the Advancement of Psychedelic Studies                            Special Interest           SAPS
Students for the Exploration and Development of Space                          Academic                   SEDS
Students of the World                                                          Media                      SOW
Students Organize for Syria at the University of North Carolina at Chapel HIll Cultural & International   SOS at UNC-CH
Studio Art Majors Association                                                  Special Interest           SAMA
Study Abroad Peer Advisors                                                     Cultural & International   SAPA
SummitCollege UNC-Chapel Hill                                                  Faith & Religion           SummitCollege
Super Cooper's College Buddies                                                 Service                    SC Buddies
Sustainable University-Community Collaborative Exchange for Educational DeService                         SucceedxUNC
Taking Action By Service                                                       Service                    TABS
TanzaCare Chapel Hill                                                          Service
Tar Heel Archaeological Society                                                Academic                   THAS
Tar Heel Battalion                                                             Academic                   THB
Tar Heel Outreach Program                                                      Service                    TOP
Tar Heel Raas                                                                  Performance                THR
Tar Heel Rifle And Pistol Club                                                 Special Interest           THRPC
Tar Heel Transfers                                                             Special Interest           THT
Tarpeggios - The                                                               Performance
Registration Type           Website
RSO (Fall Registration)     http://ackland.org
RSO (Fall Registration)
RSO (Spring Registration)   http://www.med.unc.edu/shac
RSO (Spring Registration)
RSO (Spring Registration)   http://med.unc.edu/snma
RSO (Spring Registration)   http://snpha.web.unc.edu
RSO (Spring Registration)
RSO (Fall Registration)
RSO (Fall Registration)     http://studentsupremecourt.web.unc.edu/
RSO (Fall Registration)     http://www.uncstv.com
RSO (Fall Registration)     http://suwunc.weebly.com/
RSO (Fall Registration)     http://www.studentsforedreform.org
RSO (Spring Registration)
RSO (Fall Registration)
RSO (Fall Registration)     http://s4siunc.org/
RSO (Fall Registration)     https://www.facebook.com/groups/786679538107939/
RSO (Fall Registration)     http://chapters.seds.org/unc
RSO (Fall Registration)     http://mediamakersforchange.tumblr.co
RSO (Fall Registration)     http://organize4syria.com/
RSO (Spring Registration)   http://samplegallery.weebly.com
RSO (Fall Registration)     http://studyabroad.unc.edu
RSO (Fall Registration)     summitrdu.com/college
RSO (Fall Registration)     http://supercooperswagon.org/
RSO (Fall Registration)     http://www.succeedinscience.org/
RSO (Fall Registration)     http://pharmacy.unc.edu/tabs
RSO (Fall Registration)     http://www.tanzacare.org
RSO (Fall Registration)
RSO (Spring Registration)   http://armyrotc.unc.edu/
RSO (Fall Registration)
RSO (Fall Registration)     http://www.wix.com/tarheelraas/tar-heel-raas-1
RSO (Fall Registration)     http://www.thrpc.com
RSO (Fall Registration)
RSO (Fall Registration)     http://www.tarpeggios.com
Organization Name                                                            Category                   Short Name
Tau Beta Sigma National Honorary Band Sorority                               Service                    Tau Beta Sigma , TBS
Tau Sigma National Honor Society                                             Academic                   Tau Sigma
TEDxUNC                                                                      Academic
The Alpha Iota Chapter of La Unidad Latina, Lambda Upsilon Lambda Fraterni Fraternity & Sorority        LUL
The Bridge                                                                   Cultural & International
The Caribbean Student Association                                            Cultural & International   CSA
The Carolina College Advising Corps Ambassadors                              Special Interest           CCACA
The Charles Carter at Chapel Hill                                            Special Interest           CC
The College of Psychiatric and Neurologic Pharmacists, the UNC Eshelman SchAcademic                     CPNP
The Community Legal Project                                                  Service                    CLP
The Cov at Carolina                                                          Faith & Religion           The Cov
The Documentary Squad                                                        Media
The Gardening and Ethnobotany in Academia Project                            Academic                   The GAEA Project
The Health Humanities Journal of The University of North Carolina at Chapel Academic                    HHJ of UNC-Chapel Hill
The Helping Hand Project                                                     Service                    HHP
The Medical Dialogue                                                         Academic                   MD
The Minority Student Caucus                                                  Academic                   MSC
The Roosevelt Institute                                                      Academic                   Roosevelt
The Siren Magazine                                                           Media                      Siren
The Society of Collegiate Leadership & Academic Achievement                  Academic
The Sonder Market                                                            Special Interest           TSM
The Superhero Project                                                        Service
The UNC-CH Chapter of the Online News Association                            Media                      ONA@Carolina
The UNC-CH Cybersecurity Club                                                Academic                   UNC Cybersecurity Club
The University of North Carolina at Chapel Hill Bass Fishing Team            Sport Clubs                Carolina Bass Team
The University of North Carolina at Chapel Hill Undergraduate Healthcare Clu Academic                   UHC
The University of North Carolina's Journal of Undergraduate Research         Academic                   UNC JOURney
Theta Nu Xi Multicultural Sorority, Inc                                      Fraternity & Sorority      Theta Nu Xi
Timmy Global Health at UNC-Chapel Hill                                       Service                    Timmy Global Health
Traces: The UNC-Chapel Hill Journal of History                               Academic                   Traces
Transactional and Corporate Law Association                                  Academic                   TCLA
Triangle African American History Colloquium                                 Academic                   TAAHC
Triangle Church Campus Ministry                                              Faith & Religion           TCCM
Registration Type                                Website
RSO (Spring Registration)                        http://tbsiotalambda.weebly.com/index.html
RSO (Fall Registration)                          http://www.tausigmanhs.org
RSO (Fall Registration)                          http://www.tedxunc.com
Social Greek Organizations (Fall Registration)   http://lambdas.web.unc.edu/
RSO (Fall Registration)                          http://www.thebridgeis.com
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Fall Registration)                          http://www.thecharlescarter.com/
RSO (Fall Registration)                          http://cpnp.web.unc.edu
RSO (Fall Registration)
RSO (Fall Registration)                          http://newcovenantchristian.org
RSO (Fall Registration)
RSO (Spring Registration)
RSO (Fall Registration)                          http://hhj.web.unc.edu/
RSO (Fall Registration)                          http://www.helpinghandproject.org/
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Spring Registration)                        http://www.rooseveltcampusnetwork.org/chapter/university-north-carolina-chapel-hill
RSO (Fall Registration)                          http://www.uncsiren.com
RSO (Fall Registration)                          https://thescla.org
RSO (Fall Registration)                          http://thesondermarket.com
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Fall Registration)
RSO - Sport Clubs (Spring Registration)
RSO (Fall Registration)                          https://undergradhealthcareclub.wordpress.com
RSO (Fall Registration)                          http://uncjourney.unc.edu/
Social Greek Organizations (Fall Registration)   http://www.wix.com/tnxalpha97/one
RSO (Fall Registration)                          http://unctimmy.web.unc.edu/
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Fall Registration)                          http://taahc.web.unc.edu/
RSO (Fall Registration)                          http://tccm.web.unc.edu/
Organization Name                                                      Category                   Short Name
Turning Point USA                                                      Ideology & Politics        TPUSA
UNC Admissions Ambassadors                                             Special Interest
UNC American Medical Student Association, Medical Chapter              Academic                   AMSA
UNC Badminton Club                                                     Sport Clubs                Badminton
UNC Ballroom Social Dance Club                                         Performance                Ballroom Club
UNC Chapel Hill Biomedical Engineering Club                            Academic                   UNC-CH BME Club
UNC Chapel Hill Club Field Hockey                                      Sport Clubs
UNC Chapel Hill DECA                                                   Academic                   UNC-CH DECA
UNC Chapel Hill eSports                                                Special Interest           Unc eSports
UNC Chapel Hill Students With Inter-Racial Legacies                    Special Interest           UNC-CH SWIRL
UNC Chapter of Children's Rights and You                               Service                    UNC-CH CRY USA
UNC Hillel                                                             Faith & Religion           UNC Hillel
UNC Homecoming Committee                                               Special Interest
UNC Institute for Healthcare Improvement Open School Chapter           Academic                   UNC IHI Open School
UNC Law - Labor & Employment Law Society                               Special Interest           LELS
UNC Loreleis                                                           Performance                Loreleis
UNC Marathon Team                                                      Sport Clubs
UNC MEDLIFE                                                            Service                    MEDLIFE
UNC Pre-Law Chapter of Phi Alpha Delta Law Fraternity, International   Fraternity & Sorority      PAD Pre-Law
UNC Refugee Community Partnership                                      Service                    UNC RCP
UNC School Of Law Student Animal Legal Defense Fund                    Special Interest           SALDF
UNC Student Alumni Association                                         Special Interest           SAA
UNC Young Americans for Liberty                                        Ideology & Politics        Libertarians
UNC-CH Recreational Table Tennis                                       Special Interest           UNC-TT
UNC-CH Achordants                                                      Performance                UNC-CH Achordants
UNC-CH Aikido Club                                                     Sport Clubs                UNC-CH Aikido Club
UNC-CH All Girl Club Cheerleading                                      Sport Clubs                Cheerleading
UNC-CH Allied Health Ambassadors                                       Academic/Honor Society
UNC-CH Arabic Club                                                     Cultural & International   UNCAC
UNC-CH Ballroom Dance Team                                             Sport Clubs                UNC Ballroom
UNC-CH Bridge Club                                                     Special Interest           Bridge Club
UNC-CH Circle K                                                        Service                    CKI
UNC-CH Clef Hangers Inc                                                Performance                Clefs
Registration Type                         Website
RSO (Spring Registration)                 http://www.tpusa.com/
RSO (Spring Registration)                 http://ambassadors.web.unc.edu
RSO (Spring Registration)                 http://www.med.unc.edu/amsa/
RSO - Sport Clubs (Fall Registration)     http://badminton.unc.edu
RSO (Fall Registration)
RSO (Fall Registration)
RSO - Sport Clubs (Spring Registration)
RSO (Fall Registration)                   http://www.deca.org
RSO (Fall Registration)                   https://uncesports.wordpress.com/
RSO (Fall Registration)
RSO (Fall Registration)                   http://america.cry.org/site/index.html
RSO (Spring Registration)                 http://northcarolina.hillel.org/home/our-campuses/unc-chapel-hill
RSO (Fall Registration)                   https://alumni.unc.edu/studenthomecoming
RSO (Fall Registration)                   http://www.ihi.org/education/ihiopenschool/overview/Pages/default.aspx
RSO (Fall Registration)
RSO (Fall Registration)                   http://www.loreleis.com
RSO - Sport Clubs (Fall Registration)     http://marathon.web.unc.edu
RSO (Fall Registration)                   http://www.medlifeweb.org/
RSO (Fall Registration)                   http://www.uncpad.org
RSO (Spring Registration)                 http://refugeecommunitypartnership.org/
RSO (Fall Registration)                   http://studentorgs.law.unc.edu/saldf/default.aspx
RSO (Fall Registration)                   http://alumni.unc.edu/saa
RSO (Fall Registration)                   https://www.yaliberty.org/
RSO (Fall Registration)
RSO (Fall Registration)                   http://www.achordants.com
RSO - Sport Clubs (Fall Registration)     https://www.facebook.com/groups/UNCAikido/
RSO - Sport Clubs (Fall Registration)     http://uncallgirlcheer.wordpress.com/
RSO (Fall Registration)
RSO (Fall Registration)
RSO - Sport Clubs (Fall Registration)     http://ballroom.web.unc.edu/
RSO (Fall Registration)
RSO (Fall Registration)                   http://circlek.web.unc.edu/
RSO (Fall Registration)                   http://www.clefhangers.com
Organization Name                                                      Category                   Short Name
UNC-CH Clinical Laboratory Science Service Society                     Special Interest           CLSSS
UNC-CH Club Baseball                                                   Sport Clubs                Baseball
UNC-CH Club Football                                                   Sport Clubs                Club Football
UNC-CH Club Golf                                                       Sport Clubs                Club Golf
UNC-CH Club Gymnastics                                                 Sport Clubs                clubgym
UNC-CH Club Ice Hockey                                                 Sport Clubs                Ice Hockey
UNC-CH Club Racquetball                                                Sport Clubs                Racquetball
UNC-CH Club Tennis                                                     Sport Clubs
UNC-CH College Republicans                                             Ideology & Politics        CRs
UNC-CH Cricket Club                                                    Special Interest           Cricket
UNC-CH Dance Team                                                      Performance                UNC Dance Team
UNC-CH Delight Ministries                                              Faith & Religion           Delight
UNC-CH Dental Student Research Group                                   Academic                   SRG (Dentistry)
UNC-CH DreamCatchers                                                   Service                    Dreamers
UNC-CH Environmental Science and Engineering Student Organization      Academic                   ENVRSO
UNC-CH Equestrian Team                                                 Sport Clubs                UNCET
UNC-CH Eshelman School Of Pharmacy Student Senate                      Student Government         Senate
UNC-CH Finance Society                                                 Academic                   UFS
UNC-CH Flying Silk                                                     Cultural & International   Flying Silk/Feiling
UNC-CH German Club                                                     Cultural & International   German Club
UNC-CH Gift of Life                                                    Service
UNC-CH Global Soccer Society                                           Sport Clubs                GSS
UNC-CH God First Campus Ministry                                       Faith & Religion           God First Campus Ministry
UNC-CH Greek Sustainability Council                                    Special Interest
UNC-CH Habitat For Humanity                                            Service                    Habitat
UNC-CH Health Occupations Students Of America                          Academic                   HOSA
UNC-CH Healthcare Executives Student Association                       Academic                   HESA
UNC-CH Holi Moli                                                       Cultural & International   Holi Moli
UNC-CH International Justice Mission Chapter                           Service                    IJM@UNC
UNC-CH International Society for Pharmacoeconomics and Outcomes Resear Academic                   UNC-CH ISPOR Student Chapte
UNC-CH Law Innocence Project                                           Service                    LIP
UNC-CH Lens                                                            Service
UNC-CH Master of Public Administration Diversity Committee             Special Interest           UNC-CH MPA Diversity Comm
Registration Type                         Website
RSO (Fall Registration)                   https://www.med.unc.edu/ahs/clinical
RSO - Sport Clubs (Fall Registration)     http://leaguelineup.com/welcome.asp?url=uncclubbaseball
RSO - Sport Clubs (Spring Registration)   http://uncclubfootball.com/
RSO - Sport Clubs (Fall Registration)
RSO - Sport Clubs (Fall Registration)     http://campusrec.unc.edu/sport-clubs-list#114
RSO - Sport Clubs (Fall Registration)     http://unchockey.com
RSO - Sport Clubs (Fall Registration)
RSO - Sport Clubs (Fall Registration)     http://www.uncclubtennis.com
RSO (Fall Registration)                   http://uncgop.org
RSO (Fall Registration)
RSO (Fall Registration)                   http://gotarheels.wix.com/uncspiritprogram#!vstc1=dance/vstc0=dance1
RSO (Fall Registration)                   http://www.delightministries.com
RSO (Fall Registration)                   http://studentorgs.unc.edu/srg/
RSO (Fall Registration)
RSO (Fall Registration)                   https://envrso.web.unc.edu
RSO - Sport Clubs (Fall Registration)     http://uncet.web.unc.edu/
RSO (Fall Registration)                   http://pharmacy.unc.edu/about-us/student-organizations/student-senate
RSO (Fall Registration)                   http://uncfinancesociety.org
RSO (Fall Registration)
RSO (Fall Registration)                   http://germanclub.web.unc.edu
RSO (Fall Registration)
RSO (Spring Registration)
RSO (Fall Registration)                   http://upperroomgospel.org/
RSO (Fall Registration)                   http://uncggg.com
RSO (Fall Registration)                   http://www.unchabitatforhumanity.org
RSO (Fall Registration)                   http://www.hosa.web.unc.edu
RSO (Fall Registration)
RSO (Fall Registration)                   www.uncholimoli.com
RSO (Fall Registration)
RSO (Spring Registration)                 http://www.ispor.org/student/Chapters/UniversityofNorthCarolinaatChapelHill
RSO (Fall Registration)                   http://www.nccai.org
RSO (Fall Registration)                   http://unclens.wordpress.com
RSO (Fall Registration)                   http://www.mpa.unc.edu/node/966
Organization Name                              Category                   Short Name
UNC-CH Media Law Society                       Media
UNC-CH Men's Crew Team                         Sport Clubs                Men's Crew
UNC-CH Mens Club Soccer                        Sport Clubs                Mens Soccer
UNC-CH Mens Club Ultimate                      Sport Clubs                Darkside
UNC-CH Mens Club Ultimate White                Sport Clubs                B-at-CH
UNC-CH Mens Lacrosse Club                      Special Interest           Mens Lacrosse
UNC-CH Mens Rugby Football Club                Sport Clubs                UNCRFC
UNC-CH Mens Volleyball Club                    Sport Clubs                Mens Volleyball
UNC-CH Mental Health Ambassadors               Special Interest           UNC-CH MHA
UNC-CH Moot Court                              Special Interest           Moot Court
UNC-CH National Pan-Hellenic Council           Fraternity & Sorority      NPHC
UNC-CH Naval Reserve Officer Training Corps    Special Interest           NROTC
UNC-CH Pauper Players                          Performance                Pauper Players
UNC-CH PIH|Engage                              Service
UNC-CH Pre-Pharmacy Club                       Academic                   Pre-Pharmacy
UNC-CH Psychology Club                         Academic                   Psych Club
UNC-CH Quidditch                               Sport Clubs
UNC-CH Rehabilitation Counseling Association   Service                    UNC-CH RCA
UNC-CH Rotaract                                Service                    Rotaract
UNC-CH Sailing Club                            Sport Clubs                UNC Sailing
UNC-CH Samaa                                   Performance                Samaa
UNC-CH Sangeet                                 Cultural & International   Sangeet
UNC-CH Science Policy Advocacy Group           Academic                   SPAG
UNC-CH Shotokan Karate                         Special Interest           Shotokan Karate
UNC-CH SILS Special Libraries Association      Academic                   SLA
UNC-CH Ski And Snowboard Club                  Special Interest           Ski And Snowboard
UNC-CH Ski-Snowboard Team - Competitive        Sport Clubs                UNCSST
UNC-CH Sociology Club                          Academic                   Carolina Sociology Club
UNC-CH Sport Clubs Council                     Sport Clubs                SCC
UNC-CH SportsLink                              Sport Clubs
UNC-CH Student Academy of Audiology            Academic                   SAA
UNC-CH Student Physical Therapy Association    Academic                   SPTA
UNC-CH Swim Club                               Sport Clubs                Swim Club
Registration Type                                  Website
RSO (Fall Registration)
RSO - Sport Clubs (Fall Registration)              http://crew.web.unc.edu/
RSO - Sport Clubs (Fall Registration)              https://sites.google.com/site/uncmensclubsoccer/
RSO - Sport Clubs (Fall Registration)              http://www.uncdarkside.com
RSO - Sport Clubs (Fall Registration)
RSO (Fall Registration)
RSO - Sport Clubs (Fall Registration)              http://uncrugby.com/
RSO - Sport Clubs (Fall Registration)              http://uncchmensvb.wordpress.com
RSO (Fall Registration)
RSO (Fall Registration)                            http://uncmootcourt.web.unc.edu
Social Greek Organizations (Spring Registration)   http://ofslci.unc.edu/fraternity-sorority/organizations/national-pan-hellenic-council-nphc
RSO (Spring Registration)                          http://nrotc.sites.unc.edu/
RSO (Spring Registration)                          pauper.web.unc.edu
RSO (Fall Registration)                            http://www.pih.org/pages/engage
RSO (Fall Registration)                            http://prepharm.web.unc.edu
RSO (Fall Registration)
RSO - Sport Clubs (Fall Registration)              http://www.uncquidditch.com
RSO (Spring Registration)                          http://www.rehabilitationcounselingassociation.web.unc.edu
RSO (Fall Registration)
RSO - Sport Clubs (Fall Registration)
RSO (Fall Registration)                            http://samaa.web.unc.edu
RSO (Fall Registration)                            http://sangeet.web.unc.edu
RSO (Fall Registration)                            http://spag.web.unc.edu/
RSO (Fall Registration)                            http://shotokankarate.web.unc.edu/
RSO (Spring Registration)                          http://www.ils.unc.edu/SLA/index.html
RSO (Fall Registration)
RSO - Sport Clubs (Fall Registration)              http://www.uncsst.com
RSO (Spring Registration)                          https://sites.google.com/site/alphakappadeltainternational/
RSO - Sport Clubs (Fall Registration)              http://campusrec.unc.edu/programs/sport-clubs/
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Fall Registration)                            http://www.med.unc.edu/ahs/physical
RSO - Sport Clubs (Spring Registration)
Organization Name                                                     Category              Short Name
UNC-CH Triathlon Club                                                 Sport Clubs           Triathlon
UNC-CH Vegetarian Society                                             Service               Vegetarians
UNC-CH Walk-Ons                                                       Performance           Walk-Ons
UNC-CH Water Ski and Wakeboard Club                                   Sport Clubs           Water Ski and Wakeboard
UNC-CH Weightlifting Club                                             Special Interest      Carolina Weightlifting
UNC-CH Wine to Water                                                  Service               UNC-CH W/W
UNC-CH Women's Lacrosse Club                                          Sport Clubs           Women's Club Lacrosse
UNC-CH Womens Club Basketball                                         Sport Clubs           Womens Basketball
UNC-CH Womens Club Soccer - Blue                                      Sport Clubs           Women's Club Soccer - Blue
UNC-CH Womens Club Soccer - White                                     Sport Clubs           Womens Soccer - White
UNC-CH Womens Club Volleyball                                         Sport Clubs           Womens Volleyball
UNC-CH Womens Rugby Football Club                                     Sport Clubs           Women's Rugby
UNC-CH Wordsmiths                                                     Performance           Wordsmiths
UNC-CH Wrestling Club                                                 Sport Clubs           Club Wrestling
UNC-CH Young Democrats                                                Ideology & Politics   YDs
UNC-Chapel Hill Academic Team                                         Academic              UNC Quiz Bowl
UNC-Chapel Hill Science Writing and Communication Club                Academic              SWAC
UNC-Chapel Hill Spikeball Club                                        Special Interest
UNC-Chapel Hill Table Tennis Club                                     Sport Clubs
UNC-Chapel Hill Wellspring                                            Faith & Religion      Wellspring
UNControllables                                                       Ideology & Politics
Undergraduate Accounting Club                                         Academic              UAC
Undergraduate Art Association                                         Special Interest      UAA
Undergraduate Business Student Association                            Student Government    UBSA
Undergraduate Business-Technology Club                                Academic              Busi-Tech
Undergraduate Consulting Club                                         Academic              UCC
Undergraduate Family Medicine Interest Group                          Special Interest      Undergrad FMIG
Undergraduate Honor Court                                             Student Government    Honor Court
Undergraduate Operations Club                                         Academic
Undergraduate Real Estate Club                                        Academic              UNCRE
Undergraduate Student National Dental Association                     Academic              USNDA
Undergraduate Students for Diversity in Pharmacy at UNC-Chapel Hill   Academic              USDP at UNC-Chapel Hill
Underling: The Undergraduate Linguistics Club                         Academic              Underling
Registration Type                       Website
RSO - Sport Clubs (Fall Registration)   http://unctriathlon.com
RSO (Spring Registration)               http://www.krishnadinner.com
RSO (Fall Registration)                 http://www.uncwalk-ons.com
RSO - Sport Clubs (Fall Registration)
RSO (Fall Registration)
RSO (Fall Registration)                 http://www.winetowater.org
RSO - Sport Clubs (Fall Registration)
RSO - Sport Clubs (Fall Registration)
RSO - Sport Clubs (Fall Registration)   http://www.uncheelsclubsoccer.webs.com/
RSO - Sport Clubs (Fall Registration)   https://uncclubsoccerwhite.web.unc.edu/
RSO - Sport Clubs (Fall Registration)   http://uncwomensclubvball.wix.com/tarheels
RSO - Sport Clubs (Fall Registration)   http://www.uncwrfc.org
RSO (Fall Registration)                 http://uncwordsmiths.tumblr.com/
RSO (Fall Registration)
RSO (Spring Registration)               https://uncyoungdemocrats.wixsite.com/uncyoungdemocrats
RSO (Fall Registration)
RSO (Spring Registration)               http://www.thepipettepen.com/
RSO (Fall Registration)
RSO - Sport Clubs (Fall Registration)
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Fall Registration)                 http://undergraduateaccountingclubatunc.weebly.com/
RSO (Fall Registration)
RSO (Fall Registration)
RSO (Fall Registration)                 http://busitech.web.unc.edu
RSO (Spring Registration)               http://uncconsulting.org/
RSO (Spring Registration)
RSO (Fall Registration)                 http://honor.unc.edu/
RSO (Spring Registration)               http://operations.kenan-flagler.unc.edu/
RSO (Fall Registration)
RSO (Fall Registration)                 http://www.usnda.web.unc.edu
RSO (Spring Registration)
RSO (Fall Registration)                 http://underling.web.unc.edu
Organization Name                                                              Category                   Short Name
UNICEF At Carolina                                                             Service                    UNICEF at Carolina
United Solar Initiative                                                        Service                    USI
University Bible Fellowship at UNC                                             Faith & Religion           Carolina UBF
University Career Services Career Peers                                        Special Interest           Career Peers
University of North Carolina at Chapel Hill Chapter of the North Carolina Stud Ideology & Politics        UNC-NCSL
University of North Carolina at Chapel Hill Cypher                             Performance                UNC-CH Cypher
University of North Carolina at Chapel Hill Gaelic Athletic Association        Cultural & International   UNC-CH GAA
University of North Carolina Eshelman School of Pharmacy Class of 2017         Academic                   ESOP 2017
University of North Carolina Law Republicans                                   Ideology & Politics        Carolina Law Republicans (CLR
Unsung Heroes                                                                  Media
Urology Interest Group                                                         Academic                   UIG
Vascular and Interventional Radiology Interest Group                           Special Interest           VIRIG
Veterans Advocacy Legal Organization                                           Special Interest           VALOR
Victory In Praise Dance Ministry                                               Performance                VIP
Vietnamese Student Association                                                 Cultural & International   VSA
Vinci Fitness                                                                  Special Interest           Vinci
Volunteer Income Tax Assistance                                                Service                    VITA
Water is Basic at the University of North Carolina at Chapel Hill              Service                    WiB at UNC-CH
Well Being: Campus Health and Fitness Magazine                                 Media                      The Well-Being
Wesley Foundation At UNC-CH                                                    Faith & Religion           Wesley
Whitehead Medical Society                                                      Student Government         WMS
WinShape Formers UNC-CH                                                        Faith & Religion           WSC at UNC
Women In Law                                                                   Special Interest           WIL
Women in Science at UNC Chapel Hill                                            Special Interest           WinS
Womens Health Interest Group                                                   Special Interest           WHIG
Wordshed Productions                                                           Performance                Wordshed
WXYC Chapel Hill 89.3 FM                                                       Media                      WXYC
Yackety Yack Publishing Inc.                                                   Media                      Yackety Yack
Zeta Beta Tau                                                                  Fraternity & Sorority      ZBT
Zeta Phi Beta Sorority Inc - Omega Iota Chapter                                Fraternity & Sorority      Zeta Phi Beta
Zeta Psi - Upsilon Chapter                                                     Fraternity & Sorority      Zeta Psi
Zeta Tau Alpha                                                                 Fraternity & Sorority      ZTA
Registration Type                                  Website
RSO (Fall Registration)                            http://unicef.web.unc.edu/
RSO (Fall Registration)                            http://unitedsolarinitiative.org/
RSO (Fall Registration)
RSO (Fall Registration)                            https://careers.unc.edu/about-ucs/career-peers/career-peers.html
RSO (Fall Registration)
RSO (Spring Registration)
RSO (Spring Registration)                          http://www.irishsportsunc.com/
RSO (Fall Registration)                            https://pharmacy.unc.edu
RSO (Fall Registration)
RSO (Fall Registration)                            http://unsung-hero.org
RSO (Spring Registration)                          www.med.unc.edu/uig
RSO (Spring Registration)
RSO (Fall Registration)                            http://studentorgs.law.unc.edu/valor/
RSO (Fall Registration)
RSO (Fall Registration)                            http://uncvsa.web.unc.edu
RSO (Spring Registration)
RSO (Fall Registration)                            http://studentorgs.law.unc.edu/vita/default.aspx
RSO (Fall Registration)
RSO (Fall Registration)                            http://twbmag.org
RSO (Fall Registration)                            http://www.uncwesley.org
RSO (Fall Registration)                            http://www.med.unc.edu/wms
RSO (Fall Registration)
RSO (Fall Registration)                            http://studentorgs.law.unc.edu/wil/default.aspx
RSO (Fall Registration)                            http://tibbs.unc.edu/resources/women-in-science/
RSO (Fall Registration)
RSO (Spring Registration)
RSO (Fall Registration)                            http://www.wxyc.org
RSO (Fall Registration)                            http://yack.web.unc.edu/
Social Greek Organizations (Spring Registration)   http://zetabetatau.web.unc.edu
Social Greek Organizations (Fall Registration)     http://omegaiotazphib.wordpress.com/
Social Greek Organizations (Spring Registration)   http://zetapsi.org
Social Greek Organizations (Spring Registration)   http://unczta.com/
                  Exhibit 6 to King Declaration




Case 1:14-cv-00954-LCB-JLW Document 162-1 Filed 01/18/19 Page 77 of 83
                                                                                                              Ex 6

                                         Multi-Institutional Study of Leadership Data

Overview
Data in this report is collected through the University of North Carolina at Chapel Hill’s participation in the Multi-
Institutional Study of Leadership (MSL). The MSL is “one of the largest studies of college student leadership to
date and was further significant for its use of theoretically grounded measures.  The impact of MSL extends
beyond the arena of leadership education as well.  Researchers have used data to explore a wide array of critical
topics from campus climate and sense of belonging to student involvement and diversity education.”


General Findings (data not included in following pages)
 • Socio-cultural conversations improve leadership efficacy, complex cognitive skills, social perspective taking,
   and hope (both pathways and agency)
  • Majority of non-white students rate higher in complex cognitive skills and social perspective-taking than their
    white peers
  • Participation in a student groups related to a racial or ethnic groups improve all areas of SCM leadership
    outcomes compared to those not involved in those groups
  • Student who often have socio-cultural conversations and students who feel a sense of belong on campus
    rate higher in all areas of Social Change Model Leadership outcomes compared to those who do not




                                                                                                           Page 1 of 6


         Case 1:14-cv-00954-LCB-JLW Document 162-1 Filed 01/18/19 Page 78 of 83
                                        Multi-Institutional Study of Leadership Data

Fig. 1 - Public and Private Racial Esteem
  • UNC students have identified that their Collective Racial Esteem is important to their identity. These results
    score higher than the National Sample, our Carnegie Classification peers, our Control Peers, and our Size
    Peers - meaning that UNC students prioritize both Public and Private Collective Racial Esteem more than all
    of our comparison groups.
 • However, on an agreement scale (appendix A) Public and Private Collective Racial Esteem has dropped
   since 2012. We consistently score lower in these categories than the National Sample, our Carnegie
   Classification peers, our Control Peers, and our Size Peers




Fig. 2 - Social Perspective Taking
  • When engaging in controversy with civility, social perspective taking is critical for success. UNC students
    continuously report gaining a capacity for social perspective taking in college; though we have seen a
    decrease over the last two years in the exposure to this area prior to attending college.
 • The data also shows a significant increase in Social Perspective Taking from prior to college scores to senior
   year scores - meaning that at UNC, exposure to these experiences (ones that require students to carefully
   consider their social perspectives, and the social perspectives of others they are engaging with) is impacting
   student learning and development in this area by senior year (appendix B & C).
 • Additionally, we see that UNC scores lower in Social Perspective-Taking than the National Sample, our
   Carnegie Classification peers, our Control Peers, and our Size Peers




                                                                                                         Page 2 of 6


         Case 1:14-cv-00954-LCB-JLW Document 162-1 Filed 01/18/19 Page 79 of 83
                                         Multi-Institutional Study of Leadership Data
Fig. 3 - Racial/Ethnic Group Participation
  • Those who participate in student groups related to a racial or ethnic identity often or very often, score higher
    in areas of leadership efficacy, complex cognitive skills, social perspective taking, and hope (both pathways
    and agency) as compared to those who never participate in these groups.




Fig. 4 - Exchange of Ideas
  • Included in mission of the University North Carolina System of Higher Education is “to discover, create,
    transmit, and apply knowledge to address the needs of individuals and society.”
 • Overall, Carolina Students are agree or strongly agree that they are both open to other’s ideas, and willing to
   share their own ideas with others.
 • The percentage of students from African American/Black, American Indian/Alaskan Native, Middle Eastern/
   Northern African, Latino/Hispanic, and Multiracial backgrounds reporting that they are likely to agree or
   strongly agree that they are open to other’s ideas is higher than that of their White peers.




                                                                                                          Page 3 of 6


         Case 1:14-cv-00954-LCB-JLW Document 162-1 Filed 01/18/19 Page 80 of 83
                                         Multi-Institutional Study of Leadership Data
Fig. 5 - Engaging Learning Experiences
  • The University of North Carolina Chapel Hill’s mission includes that “Our mission is to serve as a center for
    research, scholarship, and creativity and to teach a diverse community of undergraduate, graduate, and
    professional students to become the next generation of leaders.”
 • Students belonging to a marginalized Broad Racial Group, for the most part, are showing higher
   percentages of participation in outside of the classroom research than the percentage of White students
   participating in outside of the classroom research. 




                                                                                                         Page 4 of 6


         Case 1:14-cv-00954-LCB-JLW Document 162-1 Filed 01/18/19 Page 81 of 83
                                            Skyfactor/EBI College Union Data

Overview
The Skyfactor (formerly EBI MAP-Works) is distributed to at participating institutions across the country. The goal is to help
develop a standard for comparison between peer and aspirant institutions and the offerings provided through their Student
Unions. T]his is the fourth time, since 2008, that the Carolina Union has participated in the biannual survey.
Skyfactor Indicators
The Skyfactor survey uses 11 Factors to assess the quality of different services and offerings found in Student Unions. The
assessment employs a series of questions mapped to 11 unique Factors regarding specific areas of College Unions; as well
as a score for Factor 12, the overall performance score for the Carolina Union. For each Factor, including Factor 12, the
goal is to reach or surpass a performance rating score of 75%.
Figure. 6 Participation by Race:
  • The Carolina Union’s mission is to “create safe, inclusive, and educational experiences that enable students
    to maximize their time at Carolina.”
  • We see that the most popular engagement happens 1-2 times per semester among all students.
  • Additionally, the percentage of White Students engaging in activities in the College Union 1-2times per
    semester is higher than all other racial groups, with the exception of students who belong to two or more
    races.
  • However, when looking at numbers for retained
    engagement of 1-3 times per month, White
    students report only 23.1% of their population
    engages in activities in the Union 1-3 times per
    month. Whereas, the next closest(omitting 2 or
    more races) percentage comes in at 36.6% from
    Hispanic student engagement. 




                                                                                                                   Page 5 of 6


          Case 1:14-cv-00954-LCB-JLW Document 162-1 Filed 01/18/19 Page 82 of 83
• Appendix A




• Appendix B




• Appendix D




                                                                               Page 6 of 6


      Case 1:14-cv-00954-LCB-JLW Document 162-1 Filed 01/18/19 Page 83 of 83
